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    8
                            UNITED STATES DISTRICT COURT
    9
                           CENTRAL DISTRICT OF CALIFORNIA
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  11
        In re GTT Communications, Inc.        Master File No. 2:21-cv-00270-DOC-AS
  12    Securities Litigation
  13                                          CONSOLIDATED AMENDED
                                              CLASS ACTION COMPLAINT FOR
  14                                          VIOLATIONS OF THE FEDERAL
  15                                          SECURITIES LAWS
  16                                          CLASS ACTION
  17
                                              JURY TRIAL DEMANDED
  18
        This Document Relates To: All
  19    Actions
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  29        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT FOR
  30            VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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    1         Lead Plaintiff Arthur Capital Inc. (“Plaintiff”), individually and on behalf
    2   of all other persons similarly situated, by Plaintiff’s undersigned attorneys,
    3   alleges in this consolidated amended complaint the following upon personal
    4   knowledge as to allegations specifically pertaining to Plaintiff and, as to all other
    5   matters, upon the investigation of counsel, which included, inter alia: review and
    6   analysis of relevant filings made by GTT Communications, Inc. (“GTT” or the
    7   “Company”) with the United States Securities and Exchange Commission
    8   (“SEC”); review and analysis of Defendants’ public statements, public
    9   documents, and wire and press releases about the Company; media and analyst
  10    reports and advisories about the Company; interviews with confidential
  11    witnesses; information from related court filings; and information readily
  12    obtainable on the Internet. Plaintiff believes that substantial evidentiary support
  13    will exist for the allegations set forth herein after a reasonable opportunity for
  14    discovery. Most of the facts supporting the allegations contained herein are
  15    known only to Defendants (defined below) or are exclusively within their control.
  16                              NATURE OF THE ACTION
  17          1.     This is a federal securities class action brought on behalf of all
  18    persons or entities that purchased or otherwise acquired GTT publicly traded
  19    securities from May 5, 2016 through July 30, 2021, both dates inclusive, at
  20    artificially inflated prices and were damaged when the artificial inflation
  21    dissipated upon a series of corrective disclosures (“Class” and the period from
  22    May 5, 2016 through July 30, 2021 is the “Class Period”).1 Plaintiff brings claims
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  25      Excluded from the Class are: (a) persons who suffered no compensable losses;
        and (b) Defendants; the present and former officers and directors of the Company
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        at all relevant times; members of their immediate families and their legal
  27    representatives, heirs, successors, or assigns, and any entity in which any of the
  28    Defendants, or any person excluded under this subsection (b), has or had a
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    1   on behalf of the Class pursuant to sections 10(b) and 20(a) of the Securities
    2   Exchange Act of 1934 (“Exchange Act”).
    3         2.     GTT operates a global communications network, providing
    4   telecommunications services to large, multinational enterprises, carriers, and
    5   governments across five continents. Throughout the Class Period, GTT stated
    6   that its internal controls over financial reporting were “effective” and provided
    7   “reasonable assurance” that all required information was being disclosed.
    8         3.     In 2018, GTT acquired Interoute Communications Holdings S.A.
    9   (“Interoute”), a European telecommunications company, for $2.3 billion. This
  10    was far and away the most important acquisition in the Company’s history,
  11    dwarfing its other acquisitions. Despite Defendants’ assurances that the
  12    integration of Interoute would be smooth and quick, the massive and complex
  13    integration quickly turned disastrous.
  14          4.     In truth, both in connection with the Interoute acquisition and in the
  15    years pre- and post-dating the acquisition, GTT’s internal controls over financial
  16    reporting were inadequate. This led to years of inaccurate financial reporting in
  17    the Company’s public financial statements, which were particularly pronounced
  18    as the Company tried to paper over the debacle that was the Interoute acquisition.
  19          5.     As a result of GTT’s inadequate internal controls, the Company
  20    announced after market hours on August 10, 2020 that it would delay its filing of
  21    its quarterly report for the quarter ended June 30, 2020. The Company stated it
  22    had identified “certain issues related to the recording and reporting of Cost of
  23    Telecommunications Services and related internal controls.”
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  27    majority ownership interest at any time. Also excluded from the Class are
        members of the 2019 Action Class (defined below).
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    1           6.   On this news, GTT shares fell by $0.65, or over 11%, from closing
    2   at $5.61 on August 10, 2020 to close at $4.96 on August 11, 2020.
    3           7.   GTT slowly disclosed additional detail about the accounting fraud,
    4   as the Company has failed for over one year to file a single quarterly or annual
    5   report with the SEC. In December 2020, GTT announced that after a review
    6   conducted by the Company’s Board of Directors, the Board concluded that the
    7   Company’s previously issued consolidated financial statements for the years
    8   2017-2019, and each of the quarters from 2018 through the first quarter of 2020
    9   should no longer be relied upon. The Company also disclosed that the Board
  10    determined that the Company’s disclosures related to these financial statements
  11    and related communications by the Company with respect to these periods,
  12    including management’s assessment of internal control over financial reporting
  13    and evaluation of disclosure controls and procedures, should no longer be relied
  14    upon.
  15            8.   Specifically, as of December 2020, GTT’s accounting review
  16    identified accounting manipulations resulting in : (1) false accounting for Cost of
  17    Telecommunications Services during 2017-2019, and the first quarter of 2020,
  18    including (a) the Company’s failure to utilize a comprehensive process to record
  19    and account for Cost of Telecommunications Services in the proper periods; (b)
  20    adjustments made without adequate support that had the effect of pushing back
  21    expenses to later quarters; and (c) failures to recognize certain expenses by
  22    attributing them instead to goodwill and to pre-acquisition accruals, without
  23    adequate support, for companies that had been acquired; (2) pushing back bad
  24    debt expenses to later quarters; and (3) misstatement of the reserve for credits to
  25    be issued to customers.
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    1         9.     These were not trivial accounting errors – this was the manipulation
    2   of accounting for tens of millions of dollars representing significant portions of
    3   the Company’s total net losses.
    4         10.    In the aftermath of the disastrous, and ultimately failed, Interoute
    5   integration and revelation of the myriad accounting manipulations that foreran
    6   and accompanied the acquisition, the Company cleaned house, turning over its
    7   top executives including those chiefly responsible for its financial reporting and
    8   accounting functions. Defendant Calder was terminated in May 2020. Defendant
    9   Sicoli left GTT for a much smaller firm in August 2020. Defendant Fraser left the
  10    Company in September 2020, and Defendant Berns in December 2020.
  11          11.    In July 2021, after nearly a year had passed without GTT filing its
  12    restated financials for the affected periods, completing its internal accounting
  13    review, or filing any subsequent quarterly or annual report with the SEC, the
  14    NYSE delisted GTT.
  15          12.    Plaintiff and the other Class members have suffered significant
  16    damages due to Defendants’ false and misleading statements and omissions.
  17                              JURISDICTION AND VENUE
  18          13.    The claims asserted herein arise under and pursuant to Sections
  19    10(b) and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule
  20    10b-5 promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).
  21          14.    This Court has jurisdiction over the subject matter of this action
  22    pursuant to 28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C.
  23    §78aa).
  24          15.    Venue is proper in this judicial district pursuant to 28 U.S.C. §
  25    1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged
  26    misstatements entered, the subsequent damages took place in, and the Company
  27    maintains locations in this judicial district.
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    1         16.    In connection with the acts, conduct and other wrongs alleged in this
    2   complaint, defendants, directly or indirectly, used the means and instrumentalities
    3   of interstate commerce, including but not limited to, the United States mails,
    4   interstate telephone communications and the facilities of the national securities
    5   exchange.
    6                                        PARTIES
    7         17.    Plaintiff, as set forth in its certification on file with the Court (Dkt.
    8   No. 11-2) and incorporated by reference herein, purchased shares of GTT
    9   common stock at artificially inflated prices during the Class Period and was
  10    damaged upon the revelation of the alleged corrective disclosure.
  11          18.    Defendant GTT is incorporated in the state of Delaware, and the
  12    Company’s principal executive offices are located at 7900 Tysons One Place,
  13    Suite 1450, McLean, VA 22102. GTT securities traded on the New York Stock
  14    Exchange (“NYSE”) under the symbol “GTT” from the beginning of the Class
  15    Period until July 2, 2021. GTT securities traded on OTC markets under the
  16    symbol “GTTN” from July 3, 2021 through the end of the Class Period.
  17          19.    Defendant Richard D. Calder, Jr. (“Calder”) was the President and
  18    Chief Executive Officer (“CEO”) of GTT and served in that role from May 2007
  19    until he was terminated at the end of May 2020. Calder also served as a Director
  20    on the Company’s Board of Directors until his termination. Calder was highly
  21    involved in GTT’s day-to-day business and in interfacing with its employees.
  22    According to GTT’s website, Calder had “full strategic and operational
  23    responsibility for the [C]ompany.”
  24          20.    Defendant Ernie Ortega (“Ortega”) was the interim CEO of GTT
  25    from July 6, 2020 through the end of the Class Period.
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    1         21.   Defendant Michael T. Sicoli (“Sicoli”) was the Company’s Chief
    2   Financial Officer (“CFO”) from 2015 until his abrupt resignation from the
    3   Company in September 2019.
    4         22.   Defendant Daniel M. Fraser (“Fraser”) was the Company’s interim
    5   CFO from September 2019 to April 6, 2020. Fraser also served as the Senior Vice
    6   President and Corporate Controller of the Company and GTT’s principal
    7   accounting officer.
    8         23.   Defendant Steven Berns (“Berns”) was the Company’s CFO from
    9   April 6, 2020 through the end of the Class Period.
  10          24.   Defendants Calder, Ortega, Sicoli, Fraser and Berns are collectively
  11    referred to herein as the “Individual Defendants.”
  12          25.   Each of the Individual Defendants:
  13                (a)       directly participated in the management of the Company;
  14                (b)       was directly involved in the day-to-day operations of the
  15                          Company at the highest levels;
  16                (c)       was privy to confidential proprietary information concerning
  17                          the Company and its business and operations;
  18                (d)       was directly or indirectly involved in drafting, producing,
  19                          reviewing and/or disseminating the false and misleading
  20                          statements and information alleged herein;
  21                (e)       was directly or indirectly involved in the oversight or
  22                          implementation of the Company’s internal controls;
  23                (f)       was aware of or recklessly disregarded the fact that the false
  24                          and misleading statements were being issued concerning the
  25                          Company; and/or
  26                (g)       approved or ratified these statements in violation of the federal
  27                          securities laws.
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    1         26.    The Company is liable for the acts of the Individual Defendants and
    2   its employees under the doctrine of respondeat superior and common law
    3   principles of agency because all of the wrongful acts complained of herein were
    4   carried out within the scope of their employment.
    5         27.    The scienter of the Individual Defendants and other employees and
    6   agents of the Company is similarly imputed to the Company under respondeat
    7   superior and agency principles.
    8         28.    The Company and the Individual Defendants are referred to herein,
    9   collectively, as the “Defendants.”
  10                           SUBSTANTIVE ALLEGATIONS
  11                                 Company Background
  12          29.    GTT is a telecommunications company and internet service
  13    provider. GTT operates a “Tier 1” global network, and provides transport and
  14    infrastructure; internet; wide area networking, SD-WAN; managed services; and
  15    voice and video services. The company's transport and infrastructure portfolio of
  16    services consists of wavelength, Ethernet and colocation services. As of 2019,
  17    GTT was one of the five largest Internet backbones in terms of traffic.
  18          30.    GTT operates a global network of over 650 points of presence
  19    (“PoPs”). The network spans six continents and provides services to clients in
  20    more than 140 countries, though the primary markets are the US and Europe. The
  21
        company also operates three subsea cable systems, GTT Express, GTT North and
  22
        GTT South. The company has over 3,000 employees.
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              31.    During the Class Period, GTT purported to be a “disruptor,” seeking
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        to grow its market share through an aggressive acquisition strategy. Since 2015,
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        to achieve such a high rate of growth, GTT employed a “roll-up” acquisition
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        strategy in which it acquired smaller companies in so-called “tuck-in”
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    1   acquisitions. Between 2008 and 2018, GTT grew rapidly, completing 30
    2   acquisitions.
    3         32.       According to GTT, the success of its acquisition strategy was due to
    4   the Company’s unique ability to “seamlessly” and “very quickly” integrate the
    5   companies it acquired. For example, in GTT’s annual report for 2017, filed on
    6   Form 10-K with the SEC on March 1, 2018 (“2017 10-K”), the Company
    7   represented that it had “completed many acquisitions throughout our history,”
    8   and that it had “consistently demonstrated an ability to acquire and effectively
    9   integrate companies and realize cost synergies.” Defendants routinely referred to
  10    the Company’s expedited process of integration as GTT’s “core competency” that
  11    was “second to none.”
  12                 Defendants Announce the Acquisition of Interoute
                        and Assure Investors of a Smooth Integration
  13
              33.       On February 26, 2018, GTT announced it was acquiring Interoute, a
  14
        European telecommunications company that operated one of Europe’s largest
  15
        independent fiber networks. GTT acquired Interoute for $2.3 billion. This was far
  16
        and away the most important deal in the Company’s history. Defendants called
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        the acquisition “transformative,” and Defendant Calder stated that it was a “a
  18
        major milestone for GTT,” as it would virtually double the Company in size and
  19
        catapult GTT toward becoming a global market leader. Defendant Calder
  20
        proclaimed that the integration would be implemented through GTT’s
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        “successful, proven acquisition model,” and that GTT “expect[ed] to complete
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        this integration within three to four quarters post-close and achieve a post-
  23
        synergy multiple of seven to eight times Adjusted EBITDA or better on a pro
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        forma basis.”
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              34.       Interoute was easily the largest acquisition in GTT’s history. Indeed,
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        the Interoute deal was nearly four times larger than GTT’s largest acquisition
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    1   prior to that point, and 18 times larger than the average of GTT’s ten other
    2   acquisitions since 2015.
    3         35.    Defendants repeatedly claimed that the Interoute acquisition would
    4   be seamless and that GTT would have no problem completing the integration
    5   within 3-4 quarters. For example, during the Company’s March 1, 2018 earnings
    6   conference call, held just days after announcing the Interoute acquisition,
    7   Defendant Calder stated that:
    8
                     Interoute is a highly complementary platform,
    9                essentially the European version of GTT. … Given how
   10                similar our businesses are, we are confident that we can
                     integrate Interoute with GTT within 3 to 4 quarters….
   11
   12         36.    Defendants also emphasized their personal involvement in the due
   13   diligence process for the Interoute deal, and how it confirmed that Interoute could
   14   be integrated quickly. For example, on May 3, 2018, during the Company’s first
   15   quarter 2018 earnings call, Calder assured investors that he had personally
   16   evaluated Interoute’s strategic fit with GTT, stating that he had “spent most of the
   17   last 6 weeks traveling with [the CEO of Interoute,] meeting with employees and
   18   key customers in every major Interoute office.” Calder stated that, as a result of
   19   his Interoute tour, he “came away with an even deeper level of respect and
   20   appreciation for … the strategic fit combined with GTT.”
   21         37.    On May 31, 2018, Defendant Sicoli told investors during the Cowen
   22   CMT Conference that management was exclusively focused on the Interoute
   23   integration, stating that Defendants maintained a “really, really heavy focus” on
   24   integrating Interoute, and that it was “priority number one at this point.”
   25         38.    Market analysts took great comfort in Defendants’ statements,
   26   believing that GTT would successfully implement its proven integration model
   27   with respect to Interoute as it had in connection with past transactions. For
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    1   example, a May 2, 2018 Craig-Hallum report commented: “[T]he team at GTT
    2   has had a nearly flawless [integration] record over the past several years despite a
    3   number of acquisitions across different geographies and mini-cycles.” A May 3,
    4   2018 Oppenheimer report similarly commented that, with respect to the Interoute
    5   acquisition, the “primary risk is execution … but GTT has a reputation for
    6   successfully integrating accretive acquisitions in a timely manner.”
    7         39.     Once the Interoute integration was underway, Defendants continued
    8   to reassure investors that they were personally overseeing and executing each step
    9   of the integration process. For example, during the June 12, 2018 William Blair
   10   Growth Stock Conference, Defendant Calder announced the plan for how GTT’s
   11   tried and true integration strategy—“one of the core competencies of our
   12   business”—would be implemented for Interoute. Calder emphasized to investors
   13   that he had personally investigated the feasibility of this plan by “spen[ding] 8 of
   14   the last 10 weeks in Europe” at Interoute’s offices, which made him “now very
   15   confident in our ability to execute [the integration]” and expected it to “probably
   16   materially be done by the fourth quarter.” Calder then reassured investors that he
   17   would personally ensure the success of the plan by spending “the bulk of the
   18   remainder of this year in Europe basically executing on the integration of the two
   19   companies.”
   20                   Former GTT and Interoute Employees Describe
                         the Interoute Integration as an Utter Disaster
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              40.     On July 30, 2019, investors filed a securities class action against
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        GTT and certain of the Individual Defendants in the Eastern District of Virginia,
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        styled Plymouth Cnty. Ret. Sys. v. GTT Commc’ns, Inc., Case No. 19-cv-982
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        (“2019 Action”). The case was brought on behalf of a class (later certified by the
   25
        court) consisting of “all persons or entities who purchased or otherwise acquired
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        publicly traded common stock of GTT from February 26, 2018 to August 7,
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        2019, inclusive, and who were damaged thereby” (“2019 Action Class”). The
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    1   parties to the 2019 Action settled that action, including a release of claims by the
    2   2019 Action Class, with no class members objecting to or requesting exclusion
    3   from the settlement. Final judgment was entered in the 2019 Action on April 23,
    4   2021.
    5           41.   The lead plaintiff in the 2019 Action filed two amended complaints
    6   in that action, the second on October 12, 2020 (“2019 Action SAC”). The 2019
    7   Action SAC included allegations from several former GTT and Interoute
    8   employees concerning GTT’s acquisition and integration of Interoute.
    9           42.   Per the 2019 Action SAC, “CW 7,” who had worked at Interoute
   10   since 2004 and served as the CEO of Interoute Italia from March 2010 to July
   11   2018 in charge of approximately 30% of Interoute’s business, explained that
   12   GTT—which had been a customer of Interoute under CW 7’s management—was
   13   a “completely different business.” As a result of the differences in the two
   14   companies’ business models, CW 7 explained that “it was completely clear from
   15   the beginning those kinds of synergies [touted by GTT] were not reachable. They
   16   were buying something that in certain ways was completely different from what
   17   they did before.”
   18           43.   Per the 2019 Action SAC, “CW 1,” who served as Interoute’s
   19   Executive Vice President Service Provider through December 2016 and as a
   20   consultant to an American fund interested in purchasing Interoute in October
   21   2017, reported that the two companies’ culture, mission and strategy were
   22   “totally different.” CW 1 also echoed that Interoute had a “totally different
   23   business model” from GTT’s.
   24           44.   Per the 2019 Action SAC, “CW 4,” who served as Interoute’s Sales
   25   Operations and Systems Training Manger in Prague from January 2006 to
   26   January 2019, confirmed that Interoute had a fundamentally different business
   27   model from GTT. CW 4 stated that Interoute’s key assets were connected to its
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    1   huge physical network, and specifically its numerous data service centers, 70,000
    2   kilometers of fiber network, and five undersea cables.
    3         45.   Per the 2019 Action SAC, “CW 5,” who served as Interoute’s Vice
    4   President of Commercial Operations in London from January 2001 to October
    5   2018, likewise stated that the “primary difference” between the two companies
    6   “was [Interoute] owned a lot of assets, we were very asset-heavy, and [GTT was]
    7   a virtual network operator.” CW 5 stated that this resulted in very different
    8   business models, and GTT was forced “to conceptualize a lot of product lines [it]
    9   had never sold before” due to Interoute’s cloud services focus.
   10         46.   Per the 2019 Action SAC, “CW 6,” who served as a Client Account
   11   Manager in GTT’s New York office from January 2017 to June 2018, also
   12   recalled being surprised at rumors that GTT was buying Interoute because
   13   Interoute was so far out of GTT’s usual acquisition wheelhouse, noting: “It’s a
   14   completely different industry,” and “unlike any of the acquisitions that were
   15   made during my time at GTT”—an overall “unnatural fit.”
   16         47.   Per the 2019 Action SAC, “CW 10,” who served as a Lead Solutions
   17   Consultant for Interoute, and later for GTT, in Interoute’s Geneva office from
   18   August 2010 to December 2018, similarly stated that the two companies had
   19   “very different types of markets” and “very different product sets.” CW 10
   20   therefore emphasized that the way the two companies set about their business was
   21   “completely different.” As CW 10 stated, “If they had been more realistic, the
   22   impact on their shareholders would have been less, perhaps.”
   23         48.   Per the 2019 Action SAC, CW 10 also reported that Calder knew
   24   that Interoute had made a strategic shift to selling cloud services before signing
   25   the deal. According to CW 10, Defendant Calder visited Interoute’s Geneva
   26   office where CW 10 worked at the tail-end of Calder’s tour of Interoute’s offices,
   27   shortly before GTT’s announcement of the Interoute merger. According to CW
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    1   10, Calder told the Geneva office during an internal meeting that GTT had
    2   “discovered your additional [cloud] services” that Interoute had been offering
    3   “lately,” and that Calder said that GTT “didn’t want that business, those types of
    4   activities”—meaning that the Interoute integration would require significant
    5   efforts by GTT to cut out Interoute’s cloud services business, which CW 10 said
    6   did not seem feasible “from the very first day” due to Interoute’s clear focus on
    7   that business.
    8         49.    Per the 2019 Action SAC, CW 7 explicitly warned Calder that the
    9   timelines GTT touted to investors for integrating Interoute post-merger were
   10   “absolutely ridiculous” and “unrealistic,” including just prior to and at the outset
   11   of the integration. First, in February 2018, CW 7 met with Calder in person four
   12   times, where they spoke about why Calder was taking the wrong path with
   13   respect to the integration. According to CW 7: “During those conversations, he
   14   was telling me … ‘we have CMD, we are going to use our CMD because it is the
   15   best way to integrate the new company’ … I was trying to explain that the
   16   company is a bit more complicated than what he thought.”
   17         50.    Per the 2019 Action SAC, once the GTT-Interoute integration began,
   18   CW 7 spoke with Calder again several times over the phone. “I spoke with
   19   [Calder] four times over four months and I made my opinions clear. I told him I
   20   don’t think integration can be done in a short time.” CW 7 further commented
   21   that Calder was clearly “interested in doing the acquisition as fast as possible in
   22   order to start another acquisition,” regardless of whether the Interoute integration
   23   was successful. CW 7’s view of Calder was that he was “just trying to tell a story
   24   to the markets and for as long as the markets believe him they will give him
   25   money. But the moment will come when they will ask for the money back and
   26   this guy will disappear. This is what is happening now. The market wants its
   27   money back.”
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    1         51.    Per the 2019 Action SAC, “CW 3,” who served as a Field
    2   Engineering Manager for the Benelux and Nordics at Interoute for more than
    3   sixteen years until January 2019, also stated that the CMD timeline was
    4   completely unrealistic because Interoute relied on Seibel Tolls on a Cramer
    5   Systems platform—for which GTT had no equivalent, because unlike Interoute,
    6   GTT did not own any proprietary network before the merger. As a result, GTT
    7   had to gather a team of 60 people to build a brand new CMD to integrate both
    8   systems into one. “They developed their own CMD with 60 people to gather all
    9   the information from Siebel and Cramer,” CW 3 said.
   10         52.    Per the 2019 Action SAC, “CW 5,” who served as Interoute’s Vice
   11   President of Commercial Operations in London from January 2001 through
   12   October 2018, stated that it was “painfully obvious” that GTT could not possibly
   13   meet its stated integration timeline. “I met [Calder] on day one. He came in and
   14   said we will be integrated in six months. I nearly fell off my fucking chair. It was
   15   going to be easily a two-year job. Easily.” CW 5 explained that much of what
   16   was on Interoute’s Siebel platform was extremely complicated with some
   17   elements tailored to individual customers—none of it could easily be transferred
   18   to CMD and expected to work right away.
   19         53.    Per the 2019 Action ASC, CW 10 explained how the integration of
   20   Interoute into GTT would be highly complex and nigh-unmanageable, certainly
   21   on GTT’s stated timelines. “It was not feasible. Because of the culture of
   22   Interoute and the complexity of Interoute. [Interoute] was a collection of colonies,
   23   a collection of countries that had somehow worked together.” CW 10 explained
   24   that it was impossible for everything to be migrated onto GTT’s CMD platform
   25   on the timeline Calder described because so many of the contracts Interoute had
   26   with some of its largest customers (like UEFA) were so intricate. Moreover,
   27   “[t]he two systems, regardless of their internal coherence, were simply not
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    1   compatible. They replaced the Interoute incentive plans and the way of selling the
    2   GTT way.”
    3         54.   Per the 2019 Action SAC, “CW 13,” who served as a Global
    4   Accounts Director form 2018 until January 2020 in GTT’s Los Angeles,
    5   California office, stated that CMD had caused significant issues in connection
    6   with GTT’s 2016 $600 million acquisition of Hibernia, its second largest
    7   acquisition after Interoute. CW 13 stated that Hibernia was never fully integrated
    8   into GTT’s CMD, and “[b]ecause of this lack of integration, we couldn’t issue
    9   quotes or process service orders.” CW 13 stated that, ultimately, “[n]one of the
   10   services that Hibernia Media provided got integrated into GTT’s CMD system,”
   11   and any time CW 13 sold a Hibernia service, it was a manual service that
   12   required a lot of tweaking to the system. “We had to make our own quotes and it
   13   was very manual.” CW 13 further stated that Hibernia customers suffered the
   14   same billing issues that Interoute customers would suffer after they were acquired
   15   by GTT, receiving invoices that were inexplicably higher after the acquisition.
   16   GTT lost a lot of Hibernia customers due to these issues, which took up to one
   17   year before they were resolved—causing GTT to lose millions in revenue.
   18         55.   Per the 2019 Action SAC, “CW 2,” who served as a Regional Vice
   19   President for Strategic Accounts at GTT from 2015 to December 2018, stated that
   20   the billing component of the Interoute integration was “an absolute nightmare.”
   21   CW 2 reported that Interoute and GTT billing was in fact never consolidated.
   22         56.   Per the 2019 Action SAC, “CW 4,” who served as a Sales
   23   Operations Systems & Training Manager for Interoute until January 2019, stated
   24   that the impact of the acquisition on Interoute’s sales operation was a disaster.
   25   CW 4 also stated that Defendant Calder had to have been aware of the integration
   26   issues, and any argument that he was ignorant of the integration problems was
   27   “nonsense.” As CW 4 described, Calder’s “sticky fingers were involved in every
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    1   single hiring and firing, all the pay increases … Everything had to be personally
    2   approved by him. He was a micromanager.”
    3         57.    Per the 2019 Action SAC, “CW 5,” who served as a Interoute Vice
    4   President of Commercial Operations for Interoute through October 2018, stated
    5   that much of the fallout from the botched CMD integration was billing mistakes
    6   that infuriated customers. CW 5 stated “[w]e got threatening feedback” from
    7   some of them. For example, some customers were being told they faced losing
    8   service for non-payment of bills when in fact they had paid, while others were
    9   being billed twice for a single service.
   10         58.    Per the 2019 Action SAC, CW 5 said Defendants Calder and Sicoli
   11   each had direct involvement in the integration execution and full knowledge of
   12   the significant issues that arose. CW 5 stated that Calder was heavily involved:
   13   “He had his fingers in everything.” CW 5 reported Calder’s constant presence at
   14   Interoute’s offices in Europe, stating “[Calder] was really there a lot,” and “would
   15   spend weeks in the Interoute office[s]. He spent a lot of time in London, also in
   16   Prague and in Sofia,” with all of these visits occurring “during the integration
   17   phase.” CW 5 further stated that Calder would have regular “skip meetings” at
   18   Interoute, meaning he was digging lower into its executive hierarchy and having
   19   “one to ones with a lot of people.” With respect to Sicoli, CW 5 recalled having
   20   “very forthright conversations” with Sicoli in an attempt to make him understand
   21   how to make money with the very different assets GTT had acquired from
   22   Interoute—there was a lot that Interoute did that “[GTT] had never done before. I
   23   tried to go through all of that with him and get him to understand how they could
   24   make money out of it.” CW 5 also recalled that there were weekly calls with
   25   Sicoli “going through all the big deals.” The calls “absolutely” included
   26   discussion of the Interoute integration problems, including “around getting
   27   products into CMD—this isn’t ready, that’s not ready, we can’t launch a wider
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    1   product because of this … the problems we had with CMD, how things were
    2   misaligned, how processing was incorrect.”
    3         59.   Plaintiff’s own investigators also spoke with former employees of
    4   the Company who have personal knowledge of the facts alleged and attributed to
    5   them in this Complaint.
    6         60.   Former Employee 1 (“FE1”) served as a finance manager for GTT
    7   from March 2018 to September 2020, working in GTT’s New York City office.
    8   FE1 worked on billing for GTT’s domestic operations and for companies GTT
    9   had acquired.
   10         61.   FE1 reported that at the time of the Interoute acquisition, Interoute
   11   was a “mess” and its “records were awful,” which FE1 learned from
   12   conversations with colleagues. According to FE1, the Interoute acquisition was a
   13   “big issue” and “people were talking about how they thought Interoute was going
   14   to provide more revenue than there actually was, or there were delays in
   15   integrating those customers into GTT’s billing platform.” FE1’s direct boss,
   16   GTT’s Director of Billing Robin Berg, was so overwhelmed with the Interoute
   17   integration that FE1 and FE1’s colleagues were left to fend for themselves on
   18   domestic billing issues. FE1 described the lead-up to the Interoute acquisition as
   19   frenzied.
   20         62.   Former Employee 2 (“FE2”) served as GTT’s Director of
   21   Collections – Americas from January 2018 to July 2020, working out of GTT’s
   22   Raleigh, NC offices.
   23         63.   FE2 reported that, in July 2020, Defendant Ortega sent a
   24   companywide email announcement addressing accounting issues that had been
   25   identified, including that the company would have to refile financial statements
   26   due to “discrepancies” that were found. These accounting issues were then
   27   discussed during a July 2020 meeting that FE2 participated in remotely. The
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    1   meeting involved Director-level Finance employees and the Company’s senior
    2   management, including Defendants Berns and Fraser, and the company's Vice
    3   President of Finance. According to FE2, during the July 2020 meeting, Berns and
    4   Fraser stated that the accounting issues were related primarily to GTT's
    5   acquisition of Interoute, and wound up costing GTT “a lot of money.” FE2
    6   reported that at the meeting, the executives discussed gathering information to
    7   start a comprehensive review. FE2 also participated in a few additional meetings
    8   with the same group of finance executives where these accounting issues were
    9   discussed further.
   10         64.    According to FE2, GTT failed to conduct proper due diligence prior
   11   to the Interoute acquisition, resulting in major issues integrating Interoute into
   12   GTT’s systems for “customer ERP” (enterprise resource planning), financial
   13   billing and reporting, and accounts receivables management. FE2 noted that the
   14   integration issues spanned a litany of different systems at GTT. The most
   15   problematic was integrating Interoute into GTT’s Oracle system, “for the finance
   16   part of it.” FE2 stated that “the systems didn't integrate properly. The
   17   infrastructure was not set up to handle that volume – our systems weren't scalable
   18   to handle that kind of volume … We are then spending a lot of GTT money for
   19   the upgrades and system enhancements to handle the scalability. It wasn’t the
   20   cash cow that they thought it was going to be.” FE2 also reported that GTT
   21   experienced issues with cross-currency exchange rates, given that Interoute was a
   22   Bulgarian company.
   23         65.    FE2 knew about these issues because FE2 was in part responsible for
   24   “dealing with all the integration and the costs” that came with integrating the
   25   GTT and Interoute systems. According to FE2, “the AR [accounts receivable]
   26   management was horrible. It was a lot of work.”
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    1         66.    FE2 stated that GTT “had never done an acquisition on that scale
    2   before. I don't think they did due diligence before the acquisition, and [they]
    3   found out it was not going to be a seamless transition and lost their rear end due
    4   to the integration of the systems, the upgrades. I don’t think it was a proper due
    5   diligence of Interoute before they purchased the company.”
    6         67.    According to FE2, once the accounting issues related to the Interoute
    7   acquisition were identified, all executives and Finance employees were working
    8   to address the issues. Per FE2, “they were constantly trying to resolve the issues
    9   and work on them.”
   10         The Company’s Interoute Integration is Revealed to Be a Disaster
   11         68.    On May 8, 2019, Defendants released GTT’s financial results for the
   12   first quarter of 2019, revealing a surprising 1% sequential revenue decline—
   13   GTT’s first such decline since when its “roll up” strategy began in 2015—that
   14   Defendants stated was directly attributable to “delays related to [Interoute]
   15   integration activities.” Defendant Sicoli further stated that the Company’s cash
   16   balance was also “negatively impacted by a significant use of working capital
   17   related to Interoute accounts receivable, as we transitioned billing and collections
   18   activity onto our CMD system.”
   19         69.    During an earnings call on May 8, 2019, Calder also admitted that
   20   the integration was negatively impacted by the fact that Interoute had made a
   21   “real shift” of its primary strategy to “selling new cloud services,” what
   22   Defendants themselves had called a completely “different business” that GTT
   23   was “not trying to get into.”
   24         70.    During the earnings call, Sicoli tried to downplay the effect of
   25   Interoute’s strategy shift by claiming it amounted to “roughly 5% of revenue,”
   26   but he admitted that because Interoute had made a “strategic priority shift” to
   27   selling cloud services, that business was “a much higher percentage of
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    1   [Interoute’s] sales in the year or 2 leading up to the acquisition.” Sicoli stated that
    2   as a result, GTT had lost “sales momentum,” and that was why “organic growth”
    3   remained “challenging” for the Company.
    4         71.    During a June 4, 2019 Credit Suisse Communications conference,
    5   Sicoli revealed that GTT had fired at least 50% of Interoute’s workforce, or
    6   “about 1,000” of Interoute’s employees, because those employees were involved
    7   in cloud services. Sicoli also disclosed that revenue had declined another 3%
    8   “both year-over-year and sequentially,” with $12 million of the $14 million
    9   sequential reduction resulting from (i) Interoute negative net installs as a result of
   10   integration delays; and (ii) $6 million in billing credits that had to be issued to
   11   Interoute clients to resolve billing errors caused by the botched CMD migration.
   12   While Defendant Sicoli attempted to downplay the issue by stating that “[i]ssuing
   13   dispute credits as a result of billing integrations is not uncommon,” he also
   14   admitted that “the magnitude is larger and the time frame is longer than we
   15   normally see.” During the question and answer session on the conference call,
   16   Sicoli further stated that “[f]rom a margin perspective, the results were especially
   17   “disappointing,” particularly since “[t]he revenue credits that we talked about a
   18   minute ago are essentially 100% margin reductions to revenue in period.”
   19         72.    Three weeks after the August 8, 2019 earnings call, on August 27,
   20   2019, GTT announced that Sicoli was abruptly leaving the company for a
   21   position at a company called Internap. As a BWS Financial Inc. report noted,
   22   “[t]he departure of Mr. Sicoli from GTT looks sudden with GTT depending on
   23   promoting their principal accounting officer [Fraser] to the role of interim CFO.”
   24   The report further pointed out that “Mr. Sicoli’s departure for a listed company
   25   with a market capitalization of less than $70 million”—compared to GTT’s
   26   market cap of over $1 billion—“also draws more reason for concern.”
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    1         73.    On November 8, 2019, during the Company’s third quarter earnings
    2   call, Defendants disclosed that CMD billing integration issues continued to
    3   persist unabated, causing significant revenue declines of 6% year over year and
    4   3% sequentially while “billing credits remained elevated.” Additionally,
    5   Defendants revealed that, in order to pay down the $3.2 billion in debt they had
    6   amassed from a series of acquisitions that had failed to yield sufficient returns,
    7   including Interoute, they planned to sell off Interoute’s physical fiber network in
    8   Europe—the same fiber network GTT had spent $2.3 billion to acquire—as a
    9   “non-strategic asset.”
   10
             Defendants Made False and Misleading Statements of Material Fact
   11                About GTT’s Financials During the Class Period
   12
              74.    On May 5, 2016, GTT filed a Form 10-Q for the first quarter of 2016,
   13
        signed by Defendants Calder, Sicoli, and Fraser (“1Q16 10-Q”). Attached to the
   14
        1Q16 10-Q were certifications pursuant to the Sarbanes-Oxley Act of 2002
   15
        (“SOX”) signed by Defendants Calder and Sicoli attesting to the accuracy of
   16
        financial reporting, the disclosure of any material changes to the Company’s
   17
        internal control over financial reporting and the disclosure of all fraud.
   18
              75.    The 1Q16 10-Q stated the following, in pertinent part, regarding
   19
        GTT’s internal controls:
   20
   21                Evaluation of Disclosure Controls and Procedures
   22
                     Our management carried out an evaluation required by
   23                Rule 13a-15 under the Securities Exchange Act of 1934,
   24                as amended (the “Exchange Act”), under the supervision
                     of and with the participation of our Chief Executive
   25                Officer (“CEO”) and Chief Financial Officer (“CFO”),
   26                of the effectiveness of our disclosure controls and
                     procedures as defined in Rule 13a-15 and 15d-15 under
   27
                     the Exchange Act (“Disclosure Controls”). … The CEO
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    1                and the CFO, with assistance from other members of
                     management, have reviewed the effectiveness of our
    2                disclosure controls and procedures as of March 31,
    3                2016, and based on their evaluation, have concluded
                     that the disclosure controls and procedures were
    4                effective as of such date.
    5
                     Changes in        Internal   Control   over   Financial
    6                Reporting
    7
                     There were no changes in our internal control over
    8
                     financial reporting, as defined in Rules 13a-15(f) and
    9                15d-15(f) of the Securities Exchange Act of 1934, that
   10                occurred during the period ended March 31, 2016 that
                     have materially affected, or are reasonably likely to
   11                materially affect, our internal control over financial
   12                reporting.
   13                (Emphasis added.)
   14         76.    On August 8, 2016, the Company filed a Form 10-Q for the second
   15   quarter of 2016, signed by Defendants Calder, Sicoli, and Fraser (“2Q16 10-Q”).
   16   Attached to the 2Q16 10-Q were SOX certifications signed by Defendants Calder
   17   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
   18   material changes to the Company’s internal control over financial reporting and
   19   the disclosure of all fraud.
   20         77.    The 2Q16 10-Q stated, in relevant part, the following regarding
   21   GTT’s internal controls:
   22
                     Evaluation of Disclosure Controls and Procedures
   23
   24                Our management carried out an evaluation required by
   25                Rule 13a-15 under the Securities Exchange Act of 1934,
                     as amended (the “Exchange Act”), under the supervision
   26                of and with the participation of our Chief Executive
   27                Officer (“CEO”) and Chief Financial Officer (“CFO”),
                     of the effectiveness of our disclosure controls and
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   29
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    1                procedures as defined in Rule 13a-15 and 15d-15 under
                     the Exchange Act (“Disclosure Controls”). … The CEO
    2                and the CFO, with assistance from other members of
    3                management, have reviewed the effectiveness of our
                     disclosure controls and procedures as of June 30,
    4                2016, and based on their evaluation, have concluded
    5                that the disclosure controls and procedures were
                     effective as of such date.
    6
    7                Changes in        Internal   Control     over    Financial
                     Reporting
    8
    9                During the three months ended June 30, 2016, we
   10                implemented a new financial accounting system. In
                     connection with the implementation of this new system,
   11                we updated many of the processes and procedures
   12                related to our internal control over financial reporting, as
                     needed. We do not believe the implementation of the
   13                new system or the corresponding changes in processes
   14                and procedures has had or will have a material or
                     adverse effect on our internal control over financing
   15
                     reporting. Except as otherwise described above, there
   16                have been no other changes in our internal control over
   17                financial reporting (as defined in Rules 13a-15(f) and
                     15d-15(f) under the Exchange Act) as of June 30, 2016,
   18                that has materially affected, or is reasonably likely to
   19                materially affect our internal control over financial
                     reporting.
   20
   21                (Emphasis added.)
   22         78.    On November 9, 2016, the Company filed a Form 10-Q for the third
   23   quarter of 2016, signed by Defendants Calder, Sicoli, and Fraser (“3Q16 10-Q”).
   24   Attached to the 3Q16 10-Q were SOX certifications signed by Defendants Calder
   25   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
   26   material changes to the Company’s internal control over financial reporting and
   27   the disclosure of all fraud.
   28
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   29
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    1         79.   The 3Q16 10-Q stated, in relevant part, the following regarding
    2   GTT’s internal controls:
    3
                    Evaluation of Disclosure Controls and Procedures
    4
    5               Our management carried out an evaluation required by
                    Rule 13a-15 under the Securities Exchange Act of 1934,
    6               as amended (the “Exchange Act”), under the supervision
    7               of and with the participation of our Chief Executive
                    Officer (“CEO”) and Chief Financial Officer (“CFO”),
    8               of the effectiveness of our disclosure controls and
    9               procedures as defined in Rule 13a-15 and 15d-15 under
                    the Exchange Act (“Disclosure Controls”). … The CEO
   10
                    and the CFO, with assistance from other members of
   11               management, have reviewed the effectiveness of our
   12               disclosure controls and procedures as of September 30,
                    2016, and based on their evaluation, have concluded
   13               that the disclosure controls and procedures were
   14               effective as of such date.
   15               Changes in       Internal    Control    over    Financial
   16               Reporting
   17
                    There were no changes in our internal control over
   18               financial reporting (as defined in Rules 13a-15(f) and
   19               15d-15(f) under the Exchange Act) as of September 30,
                    2016, that has materially affected, or is reasonably likely
   20               to materially affect our internal control over financial
   21               reporting.
   22               (Emphasis added.)
   23         80.   On March 8, 2017, the Company filed an annual report for 2016 on
   24   Form 10-K, signed by Defendants Calder, Sicoli, and Fraser (“2016 10-K”).
   25   Attached to the 2016 10-K were SOX certifications signed by Defendants Calder
   26   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
   27
   28
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   29
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    1   material changes to the Company’s internal control over financial reporting and
    2   the disclosure of all fraud.
    3         81.    The 2016 10-K stated, in relevant part, the following regarding
    4   GTT’s internal controls:
    5
                     Management’s Report on Internal Control over
    6                Financial Reporting and Attestation Report of the
    7                Registered Public Accounting Firm
    8                … Management conducted an assessment of the
    9                effectiveness of our internal control over financial
                     reporting based on the criteria set forth in Internal
   10
                     Control - Integrated Framework issued by the
   11                Committee of Sponsoring Organizations of the
   12                Treadway Commission (2013 framework). Based on the
                     assessment, management has concluded that its
   13                internal control over financial reporting was effective
   14                as of December 31, 2016, to provide reasonable
                     assurance regarding the reliability of financial
   15                reporting and the preparation of financial statements
   16                in accordance with U.S. GAAP. …
   17                Changes in        Internal   Control    Over     Financial
   18                Reporting
   19
                     During the year ended December 31, 2016, we
   20                implemented a new financial accounting system. In
   21                connection with the implementation of this new system,
                     we updated many of the processes and procedures
   22                related to our internal control over financial reporting, as
   23                needed. We do not believe the implementation of the
                     new system or the corresponding changes in processes
   24                and procedures has had or will have a material or
   25                adverse effect on our internal control over financing
                     reporting. Except as otherwise described above, there
   26                were no other changes in our internal control over
   27                financial reporting (as defined in Rules 13a-15(f) and
                     15d-15(f) under the Exchange Act) during the quarter
   28
                                     25
   29
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    1                ended December 31, 2016, that has materially affected,
                     or is reasonably likely to materially affect our internal
    2                control over financial reporting.
    3
                     (Emphasis added.)
    4
              82.    On May 9, 2017, the Company filed a Form 10-Q for the first quarter
    5
        of 2017, signed by Defendants Calder, Sicoli, and Fraser (“1Q17 10-Q”).
    6
        Attached to the 1Q17 10-Q were SOX certifications signed by Defendants Calder
    7
        and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
    8
        material changes to the Company’s internal control over financial reporting and
    9
        the disclosure of all fraud.
   10
              83.    The 1Q17 10-Q also stated the following, in pertinent part, regarding
   11
        GTT’s Cost of Telecommunications Services Provided:
   12
   13                Cost of Telecommunications Services Provided
   14
                     Cost of telecommunications services provided
   15                increased by $25.2 million, or 38.0%, from $66.2
   16                million for the three months ended March 31, 2016 to
                     $91.4 million for the three months ended March 31,
   17                2017. Consistent with our increase in revenue, the
   18                increase in cost of telecommunications services
                     provided was principally driven by the acquisition of
   19                Hibernia, as well as organic growth and the purchase of
   20                certain customer contracts.
   21                (Emphasis added.)
   22         84.    In   the   1Q17     10-Q,   the   Company     reported   (i)   cost   of
   23   telecommunications services for the quarter of $91.4 million; (ii) a net loss for the
   24   quarter of $13.1 million; and (ii) adjusted EBITDA for the quarter of $50.7
   25   million.
   26         85.    The 1Q17 10-Q stated, in relevant part, the following regarding
   27   GTT’s internal controls:
   28
                                     26
   29
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    1
                     Evaluation of Disclosure Controls and Procedures
    2
    3                Our management carried out an evaluation required by
                     Rule 13a-15 under the Securities Exchange Act of 1934,
    4                as amended (the “Exchange Act”), under the supervision
    5                of and with the participation of our Chief Executive
                     Officer (“CEO”) and Chief Financial Officer (“CFO”),
    6                of the effectiveness of our disclosure controls and
    7                procedures as defined in Rule 13a-15 and 15d-15 under
                     the Exchange Act (“Disclosure Controls”). … The CEO
    8
                     and the CFO, with assistance from other members of
    9                management, have reviewed the effectiveness of our
   10                disclosure controls and procedures as of March 31,
                     2017, and based on their evaluation, have concluded
   11                that the disclosure controls and procedures were
   12                effective as of such date.
   13                Changes in        Internal   Control    over    Financial
   14                Reporting
   15
                     There were no changes in our internal control over
   16                financial reporting (as defined in Rules 13a-15(f) and
   17                15d-15(f) under the Exchange Act) as of March 31,
                     2017, that has materially affected, or is reasonably likely
   18                to materially affect our internal control over financial
   19                reporting.
   20                (Emphasis added.)
   21         86.    On August 4, 2017, the Company filed a Form 10-Q for the second
   22   quarter of 2017, signed by Defendants Calder, Sicoli, and Fraser (“2Q17 10-Q”).
   23   Attached to the 2Q17 10-Q were SOX certifications signed by Defendants Calder
   24   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
   25   material changes to the Company’s internal control over financial reporting and
   26   the disclosure of all fraud.
   27
   28
                                     27
   29
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    1         87.    The 2Q17 10-Q also stated the following, in pertinent part, regarding
    2   GTT’s Cost of Telecommunications Services Provided:
    3
                     Cost of Telecommunications Services Provided
    4
    5                Cost of telecommunications services provided
                     increased by $25.1 million, or 36.8%, from $68.3
    6                million for the three months ended June 30, 2016 to
    7                $93.4 million for the three months ended June 30,
                     2017. Consistent with our increase in revenue, the
    8                increase in cost of telecommunications services
    9                provided was principally driven by the acquisition of
                     Hibernia, as well as rep-driven growth and the purchase
   10
                     of certain customer contracts.
   11
   12                (Emphasis added.)

   13         88.    In   the   2Q17     10-Q,   the   Company     reported   (i)   cost   of

   14   telecommunications services for the quarter of $93.4 million; (ii) a net loss for the

   15   quarter of $649,000; and (ii) adjusted EBITDA for the quarter of $53.8 million.

   16         89.    The 2Q17 10-Q stated, in relevant part, the following regarding

   17   GTT’s internal controls:

   18                Evaluation of Disclosure Controls and Procedures
   19
                     Our management carried out an evaluation required by
   20                Rule 13a-15 under the Securities Exchange Act of 1934,
   21                as amended (the “Exchange Act”), under the supervision
                     of and with the participation of our Chief Executive
   22
                     Officer (“CEO”) and Chief Financial Officer (“CFO”),
   23                of the effectiveness of our disclosure controls and
   24                procedures as defined in Rule 13a-15 and 15d-15 under
                     the Exchange Act (“Disclosure Controls”). … The CEO
   25                and the CFO, with assistance from other members of
   26                management, have reviewed the effectiveness of our
                     disclosure controls and procedures as of June 30,
   27                2017, and based on their evaluation, have concluded
   28
                                     28
   29
             CONSOLIDATED AMENDED CLASS ACTION COMPLAINT FOR
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    1                that the disclosure controls and procedures were
                     effective as of such date.
    2
    3                Changes in        Internal   Control   over   Financial
                     Reporting
    4
    5                There were no changes in our internal control over
                     financial reporting (as defined in Rules 13a-15(f) and
    6                15d-15(f) under the Exchange Act) as of June 30, 2017,
    7                that has materially affected, or is reasonably likely to
                     materially affect our internal control over financial
    8
                     reporting.
    9
   10                (Emphasis added.)

   11         90.    On November 3, 2017, the Company filed a Form 10-Q for the third

   12   quarter of 2017, signed by Defendants Calder, Sicoli, and Fraser (“3Q17 10-Q”).

   13   Attached to the 3Q17 10-Q were SOX certifications signed by Defendants Calder

   14   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any

   15   material changes to the Company’s internal control over financial reporting and

   16   the disclosure of all fraud.

   17         91.    The 3Q17 10-Q also stated the following, in pertinent part, regarding

   18   GTT’s Cost of Telecommunications Services Provided:

   19                Cost of Telecommunications Services Provided
   20
                     Cost of telecommunications services provided
   21                increased by $31.9 million, or 46.8%, from $68.2
   22                million for the three months ended September 30, 2016
                     to $100.1 million for the three months ended
   23
                     September 30, 2017. Consistent with our increase in
   24                revenue, the increase in cost of telecommunications
   25                services provided was principally driven by the
                     acquisitions of Hibernia, Perseus, and Global Capacity,
   26                as well as rep-driven growth and the purchase of certain
   27                customer contracts.
   28
                                     29
   29
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    1               (Emphasis added.)
              92.   In   the   3Q17     10-Q,    the   Company     reported   (i)   cost   of
    2
        telecommunications services for the quarter of $100.1 million; (ii) a net loss for
    3
        the quarter of $9.5 million; and (ii) adjusted EBITDA for the quarter of $56.2
    4
        million.
    5
              93.   The 3Q17 10-Q stated, in relevant part, the following regarding
    6
        GTT’s internal controls:
    7
    8               Evaluation of Disclosure Controls and Procedures
    9
                    Our management carried out an evaluation required by
   10               Rule 13a-15 under the Securities Exchange Act of 1934,
   11               as amended (the “Exchange Act”), under the supervision
                    of and with the participation of our Chief Executive
   12
                    Officer (“CEO”) and Chief Financial Officer (“CFO”),
   13               of the effectiveness of our disclosure controls and
   14               procedures as defined in Rule 13a-15 and 15d-15 under
                    the Exchange Act (“Disclosure Controls”). … The CEO
   15               and the CFO, with assistance from other members of
   16               management, have reviewed the effectiveness of our
                    disclosure controls and procedures as of September 30,
   17               2017, and based on their evaluation, have concluded
   18               that the disclosure controls and procedures were
                    effective as of such date.
   19
   20               Changes in        Internal    Control   over    Financial
                    Reporting
   21
   22               There were no changes in our internal control over
   23               financial reporting (as defined in Rules 13a-15(f) and
                    15d-15(f) under the Exchange Act) as of September 30,
   24               2017, that has materially affected, or is reasonably likely
   25               to materially affect our internal control over financial
                    reporting.
   26
   27               (Emphasis added.)
   28
                                     30
   29
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    1         94.    On March 1, 2018, the Company filed an annual report for 2017 on
    2   Form 10-K, signed by Defendants Calder, Sicoli, and Fraser (“2017 10-K”).
    3   Attached to the 2017 10-K were SOX certifications signed by Defendants Calder
    4   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
    5   material changes to the Company’s internal control over financial reporting and
    6   the disclosure of all fraud.
    7         95.    The 2017 10-K stated, in pertinent part, the following regarding
    8   GTT’s internal controls:
    9
                     Management’s Report on Internal Control over
   10                Financial Reporting and Attestation Report of the
   11                Registered Public Accounting Firm
   12                … Management conducted an assessment of the
   13                effectiveness of our internal control over financial
                     reporting based on the criteria set forth in Internal
   14
                     Control - Integrated Framework issued by the
   15                Committee of Sponsoring Organizations of the
   16                Treadway Commission (2013 framework). Based on the
                     assessment, management has concluded that its
   17                internal control over financial reporting was effective
   18                as of December 31, 2017, to provide reasonable
                     assurance regarding the reliability of financial
   19                reporting and the preparation of financial statements
   20                in accordance with U.S. GAAP. …
   21                Changes in        Internal   Control    Over    Financial
   22                Reporting
   23
                     Except for the implementation of certain internal
   24                controls related to the adoption of the new revenue
   25                recognition standard (Topic 606), there were no changes
                     in our internal control over financial reporting (as
   26                defined in Rules 13a-15(f) and 15d-15(f) under the
   27                Exchange Act) during the year ended December 31,
                     2017, that materially affected, or are reasonably likely to
   28
                                     31
   29
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    1                   materially affect, our internal control over financial
                        reporting. …
    2
    3                   (Emphasis added.)
    4           96.     The 2017 10-K also stated the following, in pertinent part, regarding

    5   GTT’s Cost of Telecommunications Services Provided:

    6                   Cost of Telecommunications Services Provided
    7
                        Cost of telecommunications services provided
    8                   increased by $152.5 million, or 54.5%, from $279.6
    9                   million for the year ended December 31, 2016 to
                        $432.1 million for the year ended December 31, 2017.
   10
                        Consistent with our increase in revenue, the increase in
   11                   cost of telecommunications services provided was
   12                   principally driven by 2017 Acquisitions and the
                        purchase of certain customer contracts.
   13
   14                   (Emphasis added.)
   15           97.     The      2017       10-K      also     reported   that   (i)   GTT’s   cost   of
   16   telecommunications services for the fourth quarter of 2017 was $136.0 million,
   17   and $432.1 million for the full year; (ii) GTT’s net loss for the fourth quarter of
   18   2017 was $49.5 million, and $71.5 million for the full year; and (iii) GTT’s
   19   adjusted EBITDA for 2017 was $221.7 million.
   20           98.     In the 2017 10-K, GTT reported a goodwill balance of $644.5 million
   21   at year end. Defendants also disclosed the following goodwill adjustments:
   22   Goodwill - January 1, 2016                                   $       271.0
         Initial goodwill associated with 2016 business combinations           5.1
   23    Adjustments to prior year business combinations                       4.5
   24   Goodwill - December 31, 2016                                         280.6
         Initial goodwill associated with 2017 business combinations         334.7
   25    Adjustments to current year business combinations                    28.9
   26    Adjustments to prior year business combinations                       0.3
        Goodwill - December 31, 2017                                $        644.5
   27
   28
                                      32
   29
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    1         99.    On November 3, 2017, the Company filed a Form 10-Q for the first
    2   quarter of 2018, signed by Defendants Calder, Sicoli, and Fraser (“1Q18 10-Q”).
    3   Attached to the 1Q18 10-Q were SOX certifications signed by Defendants Calder
    4   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
    5   material changes to the Company’s internal control over financial reporting and
    6   the disclosure of all fraud.
    7         100. The 1Q18 10-Q also stated the following, in pertinent part, regarding
    8   GTT’s Cost of Telecommunications Services Provided:
    9
                     Cost of Telecommunications Services Provided
   10
   11                Cost of telecommunications services provided
                     increased by $46.5 million, or 48.9%, from $95.0
   12                million for the three months ended March 31, 2017 to
   13                $141.5 million for the three months ended March 31,
                     2018. Consistent with our increase in revenue, the
   14
                     increase in cost of telecommunications services
   15                provided was principally driven by having the full
   16                quarter impact of the 2017 Acquisitions, and the
                     acquisition of ACI.
   17
   18                (Emphasis added.)
   19         101. In     the   1Q18     10-Q,   the   Company   reported   (i)   cost   of

   20   telecommunications services for the quarter of $141.5 million; (ii) a net loss for

   21   the quarter of $30.7 million; and (ii) adjusted EBITDA for the quarter of $62.7

   22   million.

   23         102. The 1Q18 10-Q stated, in relevant part, the following regarding

   24   GTT’s internal controls:

   25                Evaluation of Disclosure Controls and Procedures
   26
                     … Management, with the participation of our Chief
   27                Executive Officer, and our Chief Financial Officer,
   28
                                     33
   29
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    1              evaluated the effectiveness of the Company’s disclosure
                   controls and procedures as of March 31, 2018. Based on
    2              this evaluation, the Company’s Chief Executive Officer
    3              and Chief Financial Officer concluded that the
                   Company’s disclosure controls and procedures were
    4              not effective, as of March 31, 2018, due to the material
    5              weakness over internal control over financial reporting
                   described below, in providing reasonable assurance that
    6              the information required to be disclosed by us in this
    7              report was accumulated and communicated in the
                   manner provided above.
    8
    9                                        ***
   10
                   Material Weakness in Internal Control Over Financial
   11              Reporting
   12
                   The Company’s management, including our Chief
   13              Executive Officer and Chief Financial Officer, identified
   14              a material weakness in the Company’s internal control
                   over financial reporting. …
   15
   16              The Company’s operating effectiveness of controls over
   17              accounting for complex and unusual transactions failed
                   to operate during the quarter ended March 31, 2018. The
   18              Company failed to correctly account for a deal-
   19              contingent foreign currency hedge as a derivative. This
                   derivative was entered into during the quarter ended
   20              March 31, 2018, in which we entered into the
   21              Agreement for Sale and Purchase of Interoute, and the
                   derivative will be settled at the closing of the Interoute
   22              acquisition, which is expected to occur during the
   23              second quarter of 2018. The Company’s auditors
                   identified an adjustment subsequent to the initial
   24
                   assessment of the Company's management, which has
   25              been correctly recorded in the condensed consolidated
   26              financial statements as of and for the three months ended
                   March 31, 2018 presented herein. This material
   27              weakness could result in a failure to correctly account
   28
                                    34
   29
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    1              for complex and unusual transactions that could result in
                   a material misstatement to the consolidated financial
    2              statements that would not be prevented or detected.
    3
                   Remediation Measures
    4
    5              To address the material weakness described above, the
                   Company has designed and is in the process of
    6              implementing new and enhanced controls to ensure that
    7              complex and unusual transactions are accounted for
                   correctly and that in-house accounting personnel have
    8
                   training to ensure they have the relevant expertise
    9              related to complex and unusual transactions, including
   10              derivative contracts.

   11              We believe the actions described above will be
   12              sufficient to remediate the identified material weakness
                   and strengthen our internal control over financial
   13              reporting. We expect that the enhanced controls will be
   14              implemented during the second quarter of 2018 and
                   anticipate being able to fully remediate the material
   15
                   weakness no later than December 31, 2018. We will
   16              continue to monitor the effectiveness of these controls
   17              and will make any further changes management
                   determines appropriate.
   18
   19              Changes in      Internal    Control    over   Financial
                   Reporting
   20
   21              Except for (i) the Company’s identification and
                   assessment of the material weakness described above
   22              during the quarter ended March 31, 2018 and (ii) the
   23              implementation of certain controls related to the
                   adoption of the new revenue recognition standard (Topic
   24
                   606), there were no changes in our internal control over
   25              financial reporting (as defined in Rules 13a-15(f) and
   26              15d-15(f) under the Exchange Act) as of March 31,
                   2018, that have materially affected, or are reasonably
   27
   28
                                    35
   29
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    1                likely to materially affect our internal control over
                     financial reporting.
    2
    3                (Emphasis added.)
    4         103. On August 8, 2018, the Company filed a Form 10-Q for the second

    5   quarter of 2018, signed by Defendants Calder, Sicoli, and Fraser (“2Q18 10-Q”).

    6   Attached to the 2Q18 10-Q were SOX certifications signed by Defendants Calder

    7   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any

    8   material changes to the Company’s internal control over financial reporting and

    9   the disclosure of all fraud.

   10         104. The 2Q18 10-Q also stated the following, in pertinent part, regarding

   11   GTT’s Cost of Telecommunications Services Provided:

   12                Cost of Telecommunications Services Provided
   13
                     Cost of telecommunications services provided
   14
                     increased by $82.1 million, or 84.4%, from $97.3
   15                million for the three months ended June 30, 2017 to
   16                $179.4 million for the three months ended June 30,
                     2018. Consistent with our increase in revenue, the
   17                increase in cost of telecommunications services
   18                provided was principally driven by the 2017
                     Acquisitions [the 2017 acquisitions of Global Capacity,
   19                Transbeam, and Custom Connect], and the 2018
   20                Acquisitions [the 2018 acquisitions of ACI and
                     Interoute.]
   21
   22                (Emphasis added.)
   23         105. In     the   2Q18     10-Q,   the   Company   reported   (i)   cost   of
   24   telecommunications services for the quarter of $179.4 million; (ii) a net loss for
   25   the quarter of $136.3 million; and (ii) adjusted EBITDA for the quarter of $74.9
   26   million.
   27         106. In the 2Q18 10-Q, GTT reported a goodwill balance of $1.779 billion
   28
                                     36
   29
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    1   at the quarter’s end and attributed $1.079 billion of goodwill specifically to
    2   Interoute as of the May 31, 2018 acquisition date. Defendants further represented
    3   that the “additions to both goodwill and intangible assets during the six months
    4   ended June 30, 2018 relate primarily to the acquisition of ACI and Interoute,” and
    5   disclosed the following goodwill adjustments:
    6
        Goodwill - December 31, 2017                                   $     644.5
    7    Initial goodwill associated with 2018 business combinations       1,107.3
    8    Adjustments to 2018 business combinations                             2.4
         Adjustments to prior year business combinations                      24.8
    9   Goodwill - June 30, 2018                                       $   1,779.0
   10
   11           107. On November 8, 2018, the Company filed a Form 10-Q for the third
   12
        quarter of 2018, signed by Defendants Calder, Sicoli, and Fraser (“3Q18 10-Q”).
   13
        Attached to the 3Q18 10-Q were SOX certifications signed by Defendants Calder
   14
        and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
   15
        material changes to the Company’s internal control over financial reporting and
   16
        the disclosure of all fraud.
   17
                108. The 3Q18 10-Q also stated the following, in pertinent part, regarding
   18
        GTT’s Cost of Telecommunications Services Provided:
   19
   20                   Cost of Telecommunications Services Provided
   21                   Cost of telecommunications services provided
   22                   increased by $143.6 million, or 138.3%, from $103.8
                        million for the three months ended September 30, 2017
   23                   to $247.4 million for the three months ended
   24                   September 30, 2018. Consistent with our increase in
                        revenue, the increase in cost of telecommunications
   25
                        services provided was principally driven by the 2017
   26                   Acquisitions [the 2017 acquisitions of Global Capacity,
   27                   Transbeam, and Custom Connect], and the 2018

   28
                                      37
   29
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    1                   Acquisitions [the 2018 acquisitions of ACI and
                        Interoute.]
    2
    3                   (Emphasis added.)
    4           109. In        the     3Q18       10-Q,      the     Company   reported   (i)   cost   of

    5   telecommunications services for the quarter of $247.4 million; (ii) a net loss for

    6   the quarter of $23.4 million; and (ii) adjusted EBITDA for the quarter of $108.4

    7   million.

    8           110. In the 3Q18 10-Q, GTT reported a goodwill balance of $1.6668

    9   billion at the quarter’s end and attributed $980.1 million of goodwill specifically

   10   to Interoute as of the May 31, 2018 acquisition date. Defendants further

   11   represented that the “additions to both goodwill and intangible assets during the

   12   nine months ended June 30, 2018 relate primarily to the acquisition of ACI and

   13   Interoute,” and disclosed the following goodwill adjustments:

   14   Goodwill - December 31, 2017                                 $                      644.5
         Initial goodwill associated with 2018 business combinations                      1,107.3
   15    Adjustments to 2018 business combinations                                         (100.0)
   16    Adjustments to prior year business combinations                                     23.5
         Foreign currency translation adjustments                                            (8.5)
   17   Goodwill - September 30, 2018                               $                     1,666.8
   18
   19           111. On March 1, 2019, the Company filed an annual report for 2018 on
   20   Form 10-K, signed by Defendants Calder, Sicoli, and Fraser (“2018 10-K”).
   21   Attached to the 2018 10-K were SOX certifications signed by Defendants Calder
   22   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
   23   material changes to the Company’s internal control over financial reporting and
   24   the disclosure of all fraud.
   25           112. The 2018 10-K stated, in pertinent part, the following regarding
   26   GTT’s internal controls:
   27
   28
                                      38
   29
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    1              Management’s Report on Internal Control over
                   Financial Reporting and Audit Report of the
    2              Registered Public Accounting Firm
    3
                   Our management is responsible for establishing and
    4              maintaining adequate internal control over financial
    5              reporting (as defined in Rule 13a-15(f) under the
                   Exchange Act). Management conducted an assessment
    6              of the effectiveness of our internal control over
    7              financial reporting based on the criteria set forth in
                   Internal Control - Integrated Framework issued by the
    8
                   Committee of Sponsoring Organizations of the
    9              Treadway Commission (2013). Based on the
   10              assessment, management has concluded that its
                   internal control over financial reporting was effective
   11              as of December 31, 2018, to provide reasonable
   12              assurance regarding the reliability of financial
                   reporting and the preparation of financial statements
   13              in accordance with U.S. GAAP. The effectiveness of
   14              our internal control over financial reporting as of
                   December 31, 2018, has been audited by CohnReznick
   15
                   LLP, an independent registered public accounting firm,
   16              as stated in their report, which appears herein.
   17
                   Changes in     Internal   Control    Over    Financial
   18              Reporting
   19
                   Except for the 1) Company's design and
   20              implementation of new and enhanced controls to
   21              remediate the material weakness described above, and
                   2) the implementation of certain internal controls
   22              related to the adoption of the new leasing standard
   23              (Topic 842), there were no changes in our internal
                   control over financial reporting (as defined in Rules
   24
                   13a-15(f) and 15d-15(f) under the Exchange Act) during
   25              the three months ended December 31, 2018, that
   26              materially affected, or are reasonably likely to
                   materially affect, our internal control over financial
   27              reporting. The Company implemented new controls as
   28
                                    39
   29
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    1               part of its effort to adopt Topic 842. The adoption of
                    Topic 842 required the implementation of new
    2               accounting processes, which changed the Company's
    3               internal controls over lease accounting. We implemented
                    these internal controls to ensure we adequately evaluated
    4               our leases and properly assessed the impact of Topic 842
    5               on our financial statements to facilitate its adoption in
                    2019.
    6
    7               (Emphasis added.)
    8         113. The 2018 10-K also stated, in relevant part, the following regarding
    9   GTT’s Cost of Telecommunications Services:
   10
                    Cost of Telecommunications Services
   11
   12               Cost of telecommunications services increased by
                    $387.3 million, or 89.6%, from $432.1 million for the
   13               year ended December 31, 2017 to $819.4 million for
   14               the year ended December 31, 2018. Recurring cost of
                    telecommunications services was approximately 94%
   15               and 95% of total cost of telecommunications services for
   16               the year ended December 31, 2018 and 2017,
                    respectively. Consistent with our increase in revenue,
   17
                    the increase in cost of telecommunications services was
   18               principally driven by the 2017 Acquisitions [the 2017
   19               acquisitions of Custom Connect, Transbeam, Global
                    Capacity, Perseus, and Hibernia], and the 2018
   20               Acquisitions [the 2018 acquisitions of Access Point,
   21               Interoute, and Accelerated Connections]
   22               (Emphasis added.)
   23         114. The     2018    10-K    also   reported   that   (i)   GTT’s   cost   of
   24   telecommunications services for the fourth quarter of 2018 was $251.2 million,
   25   and $819.4 million for the full year; (ii) GTT’s net loss for the fourth quarter of
   26   2018 was $53.0 million, and $243.4 million for the full year; and (iii) GTT’s
   27
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                                     40
   29
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    1   adjusted EBITDA for the fourth quarter was $117.2 million, and $363.1 million
    2   for the full year.
    3           115. In the 2018 10-K, GTT reported a goodwill balance of $1.738 billion
    4   at year end and attributed $1.040 billion of goodwill specifically to Interoute as of
    5   the May 31, 2018 acquisition date. Defendants also disclosed the following
    6   goodwill adjustments:
    7   Goodwill - December 31, 2016                                 $     280.6
    8    Initial goodwill associated with 2017 business combinations       334.7
         Adjustments to 2017 business combinations                          28.9
    9    Adjustments to prior year business combinations                     0.3
        Goodwill - December 31, 2017                                       644.5
   10
         Initial goodwill associated with 2018 business combinations     1,130.9
   11    Adjustments to 2018 business combinations                         (37.9)
         Adjustments to prior year business combinations                    22.2
   12    Foreign currency translation adjustments                          (21.7)
   13   Goodwill - December 31, 2018                                $    1,738.0

   14
   15           116. On May 10, 2019, the Company filed a Form 10-Q for the first
   16   quarter of 2019, signed by Defendants Calder, Sicoli, and Fraser (“1Q19 10-Q”).
   17   Attached to the 1Q19 10-Q were SOX certifications signed by Defendants Calder
   18   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
   19   material changes to the Company’s internal control over financial reporting and
   20   the disclosure of all fraud.
   21           117. The 1Q19 10-Q also stated the following, in pertinent part, regarding
   22   GTT’s Cost of Telecommunications Services Provided:
   23
                        Cost of Telecommunications Services Provided
   24
   25                   Cost of telecommunications services provided
                        increased by $100.3 million, or 70.9%, from $141.5
   26                   million for the three months ended March 31, 2018 to
   27                   $241.8 million for the three months ended March 31,
                        2019. Recurring cost of telecommunications services
   28
                                      41
   29
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    1               was approximately 94% and 90% of total cost of
                    telecommunications services for the three months
    2               ended March 31, 2019 and 2018, respectively.
    3               Consistent with our increase in revenue, the increase in
                    cost of telecommunications services provided was
    4               principally driven by the 2018 Acquisitions [the 2018
    5               acquisitions of Accelerated Connections Inc., Interoute,
                    and Access Point, Inc.].
    6
    7               (Emphasis added.)
    8         118. In    the   1Q19     10-Q,    the   Company     reported   (i)   cost   of
    9   telecommunications services for the quarter of $241.8 million; (ii) a net loss for
   10   the quarter of $27.3 million; and (ii) adjusted EBITDA for the quarter of $122.2
   11   million.
   12         119. The 1Q19 10-Q stated, in relevant part, the following regarding
   13   GTT’s internal controls:
   14
                    Evaluation of Disclosure Controls and Procedures
   15
   16               Our management carried out an evaluation required by
                    Rule 13a-15 under the Securities Exchange Act of 1934,
   17               as amended (the “Exchange Act”), under the supervision
   18               of and with the participation of our Chief Executive
                    Officer (“CEO”) and Chief Financial Officer (“CFO”),
   19               of the effectiveness of our disclosure controls and
   20               procedures as defined in Rule 13a-15 and 15d-15 under
                    the Exchange Act (“Disclosure Controls”). … The CEO
   21
                    and the CFO, with assistance from other members of
   22               management, have reviewed the effectiveness of our
   23               disclosure controls and procedures as of March 31,
                    2019, and based on their evaluation, have concluded
   24               that the disclosure controls and procedures were
   25               effective as of such date.
   26               Changes in        Internal    Control   over    Financial
   27               Reporting
   28
                                     42
   29
             CONSOLIDATED AMENDED CLASS ACTION COMPLAINT FOR
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    1                Except for the Company’s design and implementation of
                     certain controls related to the adoption of the new leases
    2                standard (ASC 842), there were no changes in our
    3                internal control over financial reporting (as defined in
                     Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
    4                as of March 31, 2019, that have materially affected, or
    5                are reasonably likely to materially affect our internal
                     control over financial reporting.
    6
    7                (Emphasis added.)
    8         120. On August 8, 2019, the Company filed a Form 10-Q for the second
    9   quarter of 2019, signed by Defendants Calder, Sicoli, and Fraser (“2Q19 10-Q”).
   10   Attached to the 2Q19 10-Q were SOX certifications signed by Defendants Calder
   11   and Sicoli attesting to the accuracy of financial reporting, the disclosure of any
   12   material changes to the Company’s internal control over financial reporting and
   13   the disclosure of all fraud.
   14         121. The 2Q19 10-Q also stated the following, in pertinent part, regarding
   15   GTT’s Cost of Telecommunications Services Provided:
   16
                     Cost of Telecommunications Services Provided
   17
   18                Cost of telecommunications services provided
                     increased by $58.1 million, or 32.4%, from $179.4
   19                million for the three months ended June 30, 2018 to
   20                $237.5 million for the three months ended June 30,
                     2019. Recurring cost of telecommunications services
   21                was approximately 92% and 91% of total cost of
   22                telecommunications services for the three months
                     ended June 30, 2019 and 2018, respectively. Consistent
   23
                     with our increase in revenue, the increase in cost of
   24                telecommunications services provided was principally
   25                driven by the 2018 Acquisitions [the 2018 acquisitions
                     of Accelerated Connections Inc., Interoute, and Access
   26                Point, Inc.].
   27
                     (Emphasis added.)
   28
                                     43
   29
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    1         122. In    the   2Q19     10-Q,    the   Company     reported   (i)   cost   of
    2   telecommunications services for the quarter of $237.5 million; (ii) a net loss for
    3   the quarter of $33.3 million; and (ii) adjusted EBITDA for the quarter of $112.0
    4   million.
    5         123. The 2Q19 10-Q stated, in relevant part, the following regarding
    6   GTT’s internal controls:
    7
                    Evaluation of Disclosure Controls and Procedures
    8
    9               Our management carried out an evaluation required by
                    Rule 13a-15 under the Securities Exchange Act of 1934,
   10               as amended (the “Exchange Act”), under the supervision
   11               of and with the participation of our Chief Executive
                    Officer (“CEO”) and Chief Financial Officer (“CFO”),
   12
                    of the effectiveness of our disclosure controls and
   13               procedures as defined in Rule 13a-15 and 15d-15 under
   14               the Exchange Act (“Disclosure Controls”). … The CEO
                    and the CFO, with assistance from other members of
   15               management, have reviewed the effectiveness of our
   16               disclosure controls and procedures as of June 30,
                    2019, and based on their evaluation, have concluded
   17               that the disclosure controls and procedures were
   18               effective as of such date.
   19               Changes in        Internal    Control   over    Financial
   20               Reporting
   21
                    Except for the Company’s design and implementation of
   22               certain controls related to the adoption of the new leases
   23               standard (ASC 842), there were no changes in our
                    internal control over financial reporting (as defined in
   24               Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
   25               as of June 30, 2019, that have materially affected, or are
                    reasonably likely to materially affect our internal control
   26               over financial reporting.
   27
                    (Emphasis added.)
   28
                                     44
   29
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    1         124. On November 12, 2019, the Company filed a Form 10-Q for the third
    2   quarter of 2019, signed by Defendants Calder and Fraser (“3Q19 10-Q”).
    3   Attached to the 3Q19 10-Q were SOX certifications signed by Defendants Calder
    4   and Fraser attesting to the accuracy of financial reporting, the disclosure of any
    5   material changes to the Company’s internal control over financial reporting and
    6   the disclosure of all fraud.
    7         125. The 3Q19 10-Q also stated the following, in pertinent part, regarding
    8   GTT’s Cost of Telecommunications Services Provided:
    9
                     Cost of Telecommunications Services Provided
   10
   11                Cost of telecommunications services provided
                     decreased by $14.6 million, or 5.9%, from $247.4
   12                million for the three months ended September 30, 2018
   13                to $232.8 million for the three months ended
                     September       30,    2019.      Recurring     cost    of
   14
                     telecommunications services was approximately 93%
   15                and 92% of total cost of telecommunications services for
   16                the three months ended September 30, 2019 and 2018,
                     respectively. Consistent with our decrease in revenue,
   17                the decrease in cost of telecommunications services
   18                provided was principally driven by a corresponding
                     reduction in costs related to negative net installs, cost
   19                synergies realized in 2019 after the integration of
   20                Interoute, and the effects of fluctuating foreign currency
                     exchange rates.
   21
   22                (Emphasis added.)
   23         126. In     the   3Q19     10-Q,   the   Company    reported    (i)   cost   of
   24   telecommunications services for the quarter of $232.8 million; (ii) a net loss for
   25   the quarter of $26.2 million; and (ii) adjusted EBITDA for the quarter of $102.4
   26   million.
   27
   28
                                     45
   29
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    1         127. The 3Q19 10-Q stated, in relevant part, the following regarding
    2   GTT’s internal controls:
    3
                    Evaluation of Disclosure Controls and Procedures
    4
    5               Our management carried out an evaluation required by
                    Rule 13a-15 under the Securities Exchange Act of 1934,
    6               as amended (the “Exchange Act”), under the supervision
    7               of and with the participation of our Chief Executive
                    Officer (“CEO”) and Chief Financial Officer (“CFO”),
    8               of the effectiveness of our disclosure controls and
    9               procedures as defined in Rule 13a-15 and 15d-15 under
                    the Exchange Act (“Disclosure Controls”). … The CEO
   10
                    and the CFO, with assistance from other members of
   11               management, have reviewed the effectiveness of our
   12               disclosure controls and procedures as of September 30,
                    2019, and based on their evaluation, have concluded
   13               that the disclosure controls and procedures were
   14               effective as of such date.
   15               Changes in       Internal   Control     over   Financial
   16               Reporting
   17
                    Except for the Company’s design and implementation of
   18               certain controls related to the adoption of the new leases
   19               standard (ASC 842), there were no changes in our
                    internal control over financial reporting (as defined in
   20               Rules 13a-15(f) and 15d-15(f) under the Exchange Act)
   21               as of September 30, 2019, that have materially affected,
                    or are reasonably likely to materially affect our internal
   22               control over financial reporting.
   23
                    (Emphasis added.)
   24
              128. On March 2, 2020, the Company filed an annual report for 2019 on
   25
        Form 10-K (“2019 10-K”). Attached to the 2019 10-K were SOX certifications
   26
        signed by Defendants Calder and Fraser attesting to the accuracy of financial
   27
   28
                                     46
   29
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    1   reporting, the disclosure of any material changes to the Company’s internal
    2   control over financial reporting and the disclosure of all fraud.
    3         129. The 2019 10-K stated the following, in relevant part, about GTT’s
    4   internal controls:
    5
                     Management’s Annual Report on Internal Control
    6                over Financial Reporting
    7
                     Our management is responsible for establishing and
    8                maintaining adequate internal control over financial
    9                reporting (as defined in Rule 13a-15(f) under the
                     Exchange Act). Management conducted an assessment
   10
                     of the effectiveness of our internal control over
   11                financial reporting based on the criteria set forth in
   12                Internal Control - Integrated Framework (2013) issued
                     by the Committee of Sponsoring Organizations of the
   13                Treadway Commission. Based on the assessment,
   14                management has concluded that our internal control
                     over financial reporting was effective as of December
   15                31, 2019, to provide reasonable assurance regarding
   16                the reliability of financial reporting and the
                     preparation of financial statements in accordance with
   17                U.S. GAAP. The effectiveness of our internal control
   18                over financial reporting as of December 31, 2019, has
                     been audited by CohnReznick LLP, an independent
   19
                     registered public accounting firm, as stated in its report,
   20                which appears herein.
   21
                     Changes in       Internal    Control     Over    Financial
   22                Reporting
   23
                     Except for the Company’s design and implementation
   24                of certain controls related to the adoption of the new
   25                leases standard (ASC 842), there were no changes in
                     our internal control over financial reporting (as
   26                defined in Rules 13a-15(f) and 15d-15(f) under the
   27                Exchange Act) during the year ended December 31,
                     2019, that have materially affected, or are reasonably
   28
                                     47
   29
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    1               likely to materially affect our internal control over
                    financial reporting. The Company implemented new
    2               controls as part of its effort to adopt Topic 842. The
    3               adoption of Topic 842 required the implementation of
                    new accounting processes, which changed the
    4               Company's internal controls over lease accounting. We
    5               implemented these internal controls to ensure we
                    adequately evaluated our leases and properly assessed
    6               the impact of Topic 842 on our financial statements to
    7               facilitate its adoption in 2019.
    8
                    (Emphasis added.)
    9
              130. The 2019 10-K stated the following, in pertinent part, about GTT’s
   10
        Cost of Telecommunications Services:
   11
   12               Cost of Telecommunications Services

   13               Cost of telecommunications services increased by
   14               $122.5 million, or 14.9%, from $819.4 million for the
                    year ended December 31, 2018 to $941.9 million for
   15               the year ended December 31, 2019. Recurring cost of
   16               telecommunications services was approximately 93%
                    and 94% of total cost of telecommunications services for
   17
                    the years ended December 31, 2019 and 2018,
   18               respectively. Consistent with our increase in revenue,
   19               the increase in cost of telecommunications services was
                    principally driven by the 2018 Acquisitions [the 2018
   20               acquisitions of Access Point, Interoute, and Accelerated
   21               Connections].
   22               (Emphasis added.)
   23         131. The     2019    10-K    also   reported   that   (i)   GTT’s   cost   of
   24   telecommunications services for the fourth quarter of 2018 was $241.8 million,
   25   and $941.9 million for the full year; (ii) GTT’s net loss for the fourth quarter of
   26   2018 was $27.3 million, and $105.9 million for the full year; and (iii) GTT’s
   27   adjusted EBITDA for the year of $439.3 million.
   28
                                     48
   29
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    1         132. On May 8, 2020, the Company filed a Form 10-Q for the first quarter
    2   of 2020, signed by Defendants Calder, Berns, and Fraser (“1Q20 10-Q”).
    3   Attached to the 1Q20 10-Q were SOX certifications signed by Defendants Calder
    4   and Berns attesting to the accuracy of financial reporting, the disclosure of any
    5   material changes to the Company’s internal control over financial reporting and
    6   the disclosure of all fraud.
    7         133. The 1Q20 10-Q also stated the following, in pertinent part, regarding
    8   GTT’s Cost of Telecommunications Services Provided:
    9
                     Cost of Telecommunications Services Provided
   10
   11                Cost of telecommunications services provided
                     decreased by $4.1 million, or 1.7%, from $241.8
   12                million for the three months ended March 31, 2019 to
   13                $237.7 million for the three months ended March 31,
                     2020. Recurring cost of telecommunications services
   14
                     was approximately 92% and 94% of total cost of
   15                telecommunications services for the three months
   16                ended March 31, 2020 and 2019, respectively.
                     Consistent with our decrease in revenue, the decrease in
   17                cost of telecommunications services provided was
   18                principally driven by a corresponding reduction in costs
                     related to negative net installs, cost synergies realized in
   19                2020, and the effects of fluctuating foreign currency
   20                exchange rates, partially offset by an increase in cost of
                     telecommunications services from KPN.
   21
   22                (Emphasis added.)
   23         134. In     the   1Q20     10-Q,   the   Company      reported    (i)   cost   of
   24   telecommunications services for the quarter of $237.7 million; (ii) a net loss for
   25   the quarter of $83.3 million; and (ii) adjusted EBITDA for the quarter of $89.3
   26   million.
   27
   28
                                     49
   29
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    1         135. The 1Q20 10-Q stated, in relevant part, the following regarding
    2   GTT’s internal controls:
    3
                    Evaluation of Disclosure Controls and Procedures
    4
    5               Our management carried out an evaluation required by
                    Rule 13a-15 under the Securities Exchange Act of 1934,
    6               as amended (the “Exchange Act”), under the supervision
    7               of and with the participation of our Chief Executive
                    Officer (“CEO”) and Chief Financial Officer (“CFO”),
    8               of the effectiveness of our disclosure controls and
    9               procedures as defined in Rule 13a-15 and 15d-15 under
                    the Exchange Act (“Disclosure Controls”). … The CEO
   10
                    and the CFO, with assistance from other members of
   11               management, have reviewed the effectiveness of our
   12               disclosure controls and procedures as of March 31,
                    2020, and based on their evaluation, have concluded
   13               that the disclosure controls and procedures were
   14               effective as of such date.
   15               Changes in       Internal    Control    over    Financial
   16               Reporting
   17
                    There were no changes in our internal control over
   18               financial reporting (as defined in Rules 13a-15(f) and
   19               15d-15(f) under the Exchange Act) as of March 31,
                    2020, that have materially affected, or are reasonably
   20               likely to materially affect our internal control over
   21               financial reporting.
   22               (Emphasis added.)
   23         136. The above statements in ¶¶ 74-135 were materially false and
   24   misleading because Defendants failed to disclose that the Company’s senior
   25   executives fraudulently manipulated the financial results reported during the Class
   26   Period by improperly concealing and underreporting expenses GTT incurred and
   27   artificially inflating goodwill balances attributed to companies acquired by GTT,
   28
                                     50
   29
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    1   including Interoute. These fraudulent accounting manipulations in turn caused
    2   GTT to (i) overstate its reporting of net operating income or losses and adjusted
    3   EBITDA; and (ii) understate expenses, including Cost of Telecommunications
    4   Services. These statements were also materially false and misleading because
    5   Defendants failed to disclose that (1) there were material weaknesses in the
    6   Company’s internal controls related to the recording and reporting of Cost of
    7   Telecommunications Services, goodwill, bad debt, reserves for credits to be issued
    8   to customers, and additional accounting manipulations not yet identified
    9   including, among other things, the accounting for certain intercompany
   10   transactions during 2016-2019; and (2) inadequate internal controls created
   11   undisclosed material risks that the Company would experience extensive delays in
   12   filing its quarterly and annual reports, resulting in the Company defaulting on its
   13   notes and credit agreements, entering various forbearance agreements, and,
   14   ultimately, in the Company’s delisting from the NYSE.
   15                     GTT Gradually Reveals the Truth Concerning
               Its Inadequate Internal Controls and False Financial Statements
   16
              137. On May 26, 2020, the Company filed a current report with the SEC
   17
        on Form 8-K announcing that Defendant Calder was “remov[ed] from his position
   18
        as the Company’s Chief Executive Officer and President.” GTT did not provide
   19
        any further details concerning Calder’s termination. Defendant Ortega was named
   20
        interim CEO on July 1.
   21
              138. On August 10, 2020, GTT was due to file its quarterly report for the
   22
        second quarter of 2020 with the SEC on Form 10-Q. Instead, after market hours,
   23
        GTT filed a Form NT 10-Q notification of inability to timely file its Form 10-Q
   24
        for the quarter (“2Q NT 10-Q”).
   25
              139. The 2Q NT 10-Q stated, in relevant part, the following regarding the
   26
        delay in the quarterly report:
   27
   28
                                     51
   29
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    1               GTT Communications, Inc. (the “Company”) is unable
                    to file its Quarterly Report on Form 10-Q for the quarter
    2               ended June 30, 2020 (the “Form 10-Q”) within the
    3               prescribed time period without unreasonable effort or
                    expense. In the course of closing the Company’s books
    4               for the quarter ended June 30, 2020, the Company
    5               identified certain issues related to the recording and
                    reporting of Cost of Telecommunications Services and
    6               related internal controls.
    7
                    Upon identifying these issues, the Company informed
    8
                    the Audit Committee of the Board of Directors (the
    9               “Audit Committee”) and CohnReznick LLP, the
   10               Company’s independent registered public accounting
                    firm (the “Independent Auditor”). The Company’s
   11               management and the Audit Committee, with assistance
   12               from outside counsel and consultants, are reviewing
                    (the “Review”) these issues and assessing the effect, if
   13               any, on the Company’s financial statements for the
   14               quarter ended June 30, 2020 and previously issued
                    financial statements, as well as whether there are any
   15
                    material weaknesses in the Company’s internal
   16               controls.
   17
                    At this time, the Company does not know whether the
   18               Review will identify any issues other than those
   19               described above. Although the Company plans to file the
                    Form 10-Q as soon as possible after the completion of
   20               the Review, the Company does not anticipate filing the
   21               Form 10-Q on or before August 17, 2020, the extended
                    period provided for the filing under Rule 12b-25(b) of
   22               the Securities Exchange Act of 1934, as amended. The
   23               Company is unable to predict a specific filing date at
                    this time due to the early stage of the Review.
   24
   25               (Emphasis added.)
   26         140. GTT’s 2019 10-K defined Cost of Telecommunications Services as
   27   “direct costs incurred in accessing other telecommunications providers’ networks
   28
                                     52
   29
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    1   in order to maintain the Company's Tier 1 IP network and provide
    2   telecommunication services to the Company's clients, including access,
    3   colocation, usage-based charges, and certain excise taxes and surcharges recorded
    4   on a gross basis.” These costs represented by far the Company’s largest category
    5   of operating expense.
    6         141. GTT’s 2019 10-K explained that “Cost of Telecommunications
    7   Services” was “principally driven” by the Company’s “2018 Acquisitions,” of
    8   which the largest and most significant by far was Interoute. In fact, GTT’s other
    9   acquisitions in 2018, Accelerated Connections, Inc. and Access Point, Inc., were
   10   each approximately 50 times smaller than the Interoute acquisition.
   11         142. On August 10, 2020, after the close of markets, GTT also filed a
   12   current report with the SEC on Form 8-K. In the August 10, 2020 8-K, GTT also
   13   disclosed that it had amended the terms of the credit agreement the Company had
   14   entered into on May 31, 2018 in order to acquire Interoute. Under the amended
   15   credit agreement the associated creditors agreed to extend GTT’s deadline for
   16   curing its delayed SEC filing until October 30, 2020. If GTT failed to file its 10-
   17   Q by this deadline, the Company could be deemed in default of the credit
   18   agreement, at which point GTT’s remaining debt balance would become
   19   immediately due and payable.
   20         143. Several analysts also expressed serious concerns with these
   21   revelations, particularly in light of the fact that GTT had abruptly terminated
   22   Defendant Calder less than three months prior without providing any explanation
   23   for his departure. For instance, on August 11, 2020, a Raymond James analyst
   24   report stated that GTT’s newly-disclosed accounting problems must have
   25   provided “further reason for the CEO change in May” and that, “fortunately for
   26   current shareholders, the management team responsible for these issues is no
   27   longer with the company.” Similarly, on August 11, 2020, Truist reiterated its
   28
                                     53
   29
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    1   prior downgrade of GTT, particularly considering “the resignation of [Calder] in
    2   late May that followed [Sicoli’s resignation] in 2H19,” as well as the financial
    3   reporting “that is now being questioned.” Analysts also emphasized the
    4   magnitude of the accounting manipulation. For instance, on August 11, 2020,
    5   Craig-Hallum suspended its “estimates, rating and price target until the company
    6   is able to file results and there is no restatement potential,” warning that the filing
    7   delay could “take well longer than anticipated and can be very costly and
    8   disruptive[.]” On this same day, Raymond James echoed this pessimism, stating
    9   that “we lack confidence in the integrity of reported numbers and/or reinstated
   10   numbers, and expect the current and prior periods to change.”
   11         144. On this news, GTT shares fell by $0.65, or over 11%, from closing
   12   at $5.61 on August 10, 2020 to close at $4.96 on August 11, 2020.
   13         145. On August 19, 2020, GTT filed a Form 8-K stating that it had
   14   received a notice from the NYSE advising the Company that it was “not in
   15   compliance with the NYSE’s continued listing requirements” due to the
   16   Company’s failure to timely file its second quarter 2020 10-Q; that GTT could be
   17   delisted if it did not file the 10-Q by the end of the cure period on February 17,
   18   2021; and that the NYSE could commence delisting proceedings earlier “if
   19   circumstances warrant.”
   20         146. On September 15, 2020, GTT announced a “mutual agreement” that
   21   Fraser would leave the Company. Fraser was the Company’s interim CFO from
   22   September 2019 through April 6, 2020, and was then serving as the Senior Vice
   23   President and Corporate Controller of the Company and GTT’s principal
   24   accounting officer.
   25         147. That same day, the Company also announced more detail concerning
   26   the scope of the ongoing review of the accounting issues identified the prior
   27   month. Specifically, GTT filed a current report with the SEC on Form 8-K
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    1   disclosing that the review had “identified a number of issues in connection with
    2   the Company’s previously issued financial statements,” including issues that
    3   impacted the Company’s financial reports during the 2019 Action’s class period.
    4   GTT revealed that the review had determined that the Company had made
    5   “adjustments ... without adequate support to Cost of Telecommunications
    6   Services” that had “the effect of removing expenses from the Company’s income
    7   statement at quarter-end and then recognizing certain of those expenses in
    8   subsequent quarters.”
    9         148. The Company also disclosed in the September 15, 2020 8-K that in
   10   2017 and 2018, GTT failed “to recognize certain expenses on the Company’s
   11   income statement by recording such expenses to goodwill and thereby attributing
   12   such expenses to pre-acquisition accruals, without adequate support, for
   13   companies that had been acquired.” In GTT’s quarterly report for the second
   14   quarter of 2018, filed with the SEC on Form 10-Q on August 8, 2018, Defendants
   15   defined “goodwill” as “the excess of the purchase price [of an acquired company]
   16   over the fair value of the net identifiable assets acquired in a business
   17   combination.”
   18         149. The September 15, 2020 8-K also stated that GTT was “reassessing
   19   its previous conclusions regarding the effectiveness of its internal control over
   20   financial reporting” during each of the quarters from 2017 through the first
   21   quarter of 2020 and that the Company expected “to identify material weaknesses
   22   in the Company’s internal control over financial reporting.” GTT also specifically
   23   noted that the Company’s internal review was continuing, and that there could be
   24   no assurance that additional fraudulent accounting would not be identified.
   25   Among other things, the Company disclosed that it was examining “certain
   26   intercompany transactions” that had been recorded from 2016 through 2019.
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    1         150. Finally, GTT disclosed in the September 15, 2020 8-K that it had
    2   received a notice of default stemming from its failure to file its 2Q20 10-Q, this
    3   time from holders of at least 25% of GTT’s 7.875% Senior Notes due 2024. If the
    4   Company did not file its delayed 10-Q by November 1, 2020, GTT would be in
    5   default on its notes, in addition to the credit agreement. In this event, the
    6   remaining balances under the credit agreement and the notes could become
    7   immediately due and owed, meaning GTT could become obligated to
    8   immediately repay a substantial portion of its more than $3 billion of debt. GTT
    9   acknowledged that due to its admitted accounting and internal control issues there
   10   was a “substantial possibility” that it would not be able to comply with the
   11   October 30 or November 1, 2020 cure of default deadlines.
   12         151. The accounting manipulations revealed in the September 15, 2020 8-
   13   K were clearly related to the Interoute acquisition and integration. GTT’s own
   14   SEC filings disclosed that the improper end-of-quarter “adjustments” to expenses
   15   related to Cost of Telecommunications Services were “principally driven” by
   16   GTT’s acquisition of Interoute. Similarly, GTT’s failure to recognize other
   17   expenses by recording them as goodwill “for companies that had been acquired”
   18   likewise related directly to Interoute, as it was by far the largest “compan[y] that
   19   had been acquired” during the relevant timeframe. Moreover, in GTT’s quarterly
   20   reports for the second and third quarters of 2018, the Company explicitly
   21   represented that the “additions to both goodwill and intangible assets during
   22   [these periods] relate primarily to the acquisition of ACI and Interoute.”
   23         152. Analysts reacted negatively to these disclosures. On September 16,
   24   2020, Morningstar concluded that GTT would likely default on its debt
   25   obligations such that “a substantial portion of its more than $3 billion in debt will
   26   come due.” Because of this, Morningstar stated, “the firm is in disarray” and
   27   warned that bankruptcy “remains a distinct threat.” On September 16, 2020,
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    1   Raymond James noted that the termination of GTT’s principal accounting officer,
    2   Fraser, was related to “accounting control issues leading to what are now being
    3   characterized as material deficiencies delaying the 2Q20 10-Q filing and a
    4   subsequent need to restate several years of reported results.”
    5         153. On October 28, 2020, GTT filed a current report with the SEC on
    6   Form 8-K that revealed additional information demonstrating the severity and
    7   extent of Defendants’ accounting fraud. Not only was the Company still unable to
    8   file its already-delayed 2Q20 10-Q, but it also did not expect to be able to timely
    9   file its third quarter 10-Q, which would render GTT in default under its credit
   10   agreements and an indenture, and in continued violation of the NYSE’s listing
   11   rules. Specifically, the October 28, 2020 8-K stated that:
   12
                     The Company does not expect to be able to file the Late
   13                [Q2] SEC Report or the Q3 SEC Report by the
   14                applicable deadlines under the Indenture and Credit
                     Agreement or by the Expiration Time under the
   15                Forbearance Agreements, as a result of the Company’s
   16                previously disclosed review of certain issues related to
                     the    recording     and     reporting    of     Cost  of
   17                Telecommunications Services, certain intercompany
   18                transactions and related internal controls (the “Review”),
                     which is continuing. The Company is unable to predict
   19
                     specific filing dates for the Late [Q2] SEC Report and
   20                Q3 SEC Report at this time.
   21
              154. On November 9, 2020, GTT filed with the SEC a Form NT 10-Q
   22
        notification of inability to timely file Form 10-Q for the third quarter of 2020 (“3Q
   23
        NT 10-Q”). The 3Q NT 10-Q stated, in relevant part, the following regarding the
   24
        delay in the quarterly report:
   25
   26                As reported by the Company in its prior filings with the
   27                Securities and Exchange Commission (the “SEC”), in
                     the course of closing the Company’s books for the
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    1              quarter ended June 30, 2020, the Company identified
                   certain issues related to the recording and reporting of
    2              Cost of Telecommunications Services and related
    3              internal controls. The Company’s management and the
                   Audit Committee (the “Audit Committee”) of the
    4              Company’s Board of Directors (the “Board”), with
    5              assistance from outside counsel and consultants,
                   commenced a review (the “Review”) with respect to
    6              these issues and are assessing the effect, if any, on the
    7              Company’s unissued and previously issued financial
                   statements, as well as whether there are any material
    8
                   weaknesses in the Company’s internal controls.
    9
   10              In addition, as previously disclosed, the Review is
                   examining      the      accounting     for    Cost    of
   11              Telecommunications Services and has identified a
   12              number of issues in connection with the Company’s
                   previously issued financial statements, including: (i)
   13              adjustments made without adequate support to Cost of
   14              Telecommunications Services during the year ended
                   December 31, 2019 and the three months ended March
   15
                   31, 2020 that had the effect of removing expenses from
   16              the Company’s income statement at quarter-end and
   17              then recognizing certain of those expenses in subsequent
                   quarters; and (ii) failures during the years ended
   18              December 31, 2018 and 2017 to recognize certain
   19              expenses on the Company’s income statement by
                   recording such expenses to goodwill and thereby
   20              attributing such expenses to pre-acquisition accruals,
   21              without adequate support, for companies that had been
                   acquired. In addition, the Review is also examining: (x)
   22              certain intercompany transactions recorded during the
   23              years ended December 31, 2019, 2018, 2017 and 2016,
                   and each of the quarters during the years ended
   24
                   December 31, 2019, 2018, 2017 and 2016; (y)
   25              accounting for bad debt expense during the year ended
   26              December 31, 2019; and (z) accounting for credits
                   issued to customers during the years ended December
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    1               31, 2019 and 2018 and the three months ended March
                    31, 2020.
    2
    3               Furthermore, as disclosed in prior filings with the SEC,
                    the Company is also reassessing its previous
    4               conclusions regarding the effectiveness of its internal
    5               control over financial reporting. At the conclusion of
                    the Review, the Company expects the Review to identify
    6               material weaknesses in the Company’s internal control
    7               over financial reporting, and the Company intends to
                    continue to evaluate and implement remedial measures
    8
                    to address any such material weaknesses.
    9
   10               At this time, the Company has not concluded its Review
                    and there is no assurance that additional items will not
   11               be identified. The Company’s management and the
   12               Audit Committee, with assistance from outside counsel
                    and consultants, are continuing to assess the effect of
   13               the matters described above on the Company’s
   14               financial statements for the years ended December 31,
                    2019, 2018, 2017 and 2016, each of the quarters
   15
                    during the years ended December 31, 2019, 2018, 2017
   16               and 2016 and the quarter ended March 31, 2020. As of
   17               the date of filing this Form 12b-25, the Company is
                    unable to estimate the total potential impact of the issues
   18               described herein on its previously issued financial
   19               statements.
   20               (Emphasis added.)
   21         155. On December 8, 2020, after the close of trading, GTT filed a current
   22   report with the SEC on Form 8-K, which disclosed Defendant Berns’ abrupt
   23   departure from the Company. Berns was the Company’s CFO and interim
   24   principal accounting officer after Defendant Fraser’s departure. Berns’ departure
   25   marked the last of a series of resignations and terminations of GTT’s senior
   26   officers in the wake of the Interoute debacle and rampant accounting problems,
   27   following Defendants Calder and Fraser out the door. This wholesale clear-out of
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    1   GTT’s CEO and top accounting officers showed that the accounting problems
    2   plaguing GTT were not limited to one accountant’s mistakes or one rogue
    3   individual’s transgressions, rather they were symptoms of gross systematic
    4   failures of the Company’s entire internal controls and processes surrounding its
    5   financial reporting.
    6         156. On December 22, 2020, GTT filed a current report with the SEC on
    7   Form 8-K, which detailed the scope of the accounting review and disclosed some
    8   of the interim findings of accounting problems:
    9
                     The Review has been examining the accounting for Cost
   10                of Telecommunications Services and certain other line
   11                items in the Company’s previously issued financial
                     statements. At this time, the Review has identified a
   12                number of errors in connection with the Company’s
   13                previously issued financial statements, including: (1)
                     errors in accounting for Cost of Telecommunications
   14                Services during the years ended December 31, 2019,
   15                2018 and 2017, and the quarter ended March 31, 2020
                     including (a) errors resulting from the Company’s
   16
                     failure to utilize a comprehensive process to record and
   17                account for Cost of Telecommunications Services in the
   18                proper periods; (b) adjustments made without adequate
                     support during the year ended December 31, 2019 and
   19                the quarter ended March 31, 2020 that had the effect of
   20                removing expenses from the Company’s consolidated
                     statement of operations at quarter-end and then
   21                recognizing certain of those expenses as Cost of
   22                Telecommunications Services in subsequent quarters;
                     and (c) failures during the years ended December 31,
   23                2018 and 2017 to recognize certain expenses as Cost of
   24                Telecommunications Services on the Company’s
                     consolidated statement of operations by recording such
   25
                     expenses to goodwill and thereby attributing such
   26                expenses to pre-acquisition accruals, without adequate
   27                support, for companies that had been acquired; (2)
                     failures to recognize sufficient bad debt expense during
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    1                the year ended December 31, 2019, and the
                     overstatement of bad debt expense for the quarter ended
    2                March 31, 2020; and (3) overstatement of the reserve for
    3                credits to be issued to customers as of December 31,
                     2017 and understatements of the reserve for credits to be
    4                issued to customers as of December 31, 2019 and 2018,
    5                and March 31, 2020, which affected the timing of
                     reductions to Revenue.
    6
    7         157. Continuing, the December 22, 2020 8-K explained that the review
    8   was also still examining transactions from 2016:
    9
                     The Review is continuing and there is no assurance that
   10                additional items will not be identified. Among other
   11                things, the Review is examining the accounting for
                     certain intercompany transactions recorded during the
   12                years ended December 31, 2019, 2018, 2017 and 2016,
   13                and each of the quarters during the years ended
                     December 31, 2019, 2018, 2017 and 2016.
   14
   15         158. In the same filing, GTT also announced that its Board had concluded
   16   that the Company’s previously issued annual financial statements for 2017-2019,
   17   and each of the quarters during 2018-2019 and the first quarter of 2020, should no
   18   longer be relied upon. The same 8-K also provided “the Company’s current
   19   preliminary estimates of the approximate ranges of aggregate decreases in
   20   Operating Income (and equivalent increases in Loss Before Income Taxes) due to
   21   the errors discovered to date.” These decreases represented dramatic proportions
   22   of GTT’s reported Operating Income and substantial changes to GTT’s reported
   23   total net losses for each of these periods, as reflected in the chart below:
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    1    Affected    Reported               Estimated         Decrease as % Decrease as
          Period Operating Income            Decrease          of Operating % of Total
    2              (in millions)           (in millions)          Income     Net Loss
    3      2017        $25.4                   $3-5               12-20%       4-7%
           2018        $39.7                  $25-39              63-98%     10-16%
    4      2019       $123.3                  $17-30              14-24%     16-28%
    5    1Q 2020        $9.2                   $4-8               43-87%      5-10%
    6
              159. On February 11, 2021, the NYSE granted the Company’s request to
    7
        extend the cure period for filing its restated financials through August 17, 2021.
    8
        As the Company disclosed in a current report filed with the SEC on Form 8-K on
    9
        February 16, 2021:
   10
   11                On February 11, 2021, the NYSE granted the
   12                Company’s request for an Additional Cure Period
                     through August 17, 2021, subject to reassessment by the
   13                NYSE on an ongoing basis. The NYSE will continue to
   14                closely monitor the Company’s progress with its
                     timeline for returning to compliance with Section
   15                802.01E. The NYSE may suspend trading in the
   16                Company’s common stock on the NYSE and commence
                     delisting procedures prior to the end of the Additional
   17                Cure Period, if circumstances warrant. In addition, in the
   18                event the Company does not file the Late Reports or
                     subsequent delayed periodic SEC filings with the SEC
   19
                     by August 17, 2021, the NYSE stated that it will move
   20                forward with the initiation of suspension and delisting
   21                procedures.

   22
              160. On March 16, 2021, GTT filed with the SEC a Form NT 10-K
   23
        notification of the Company’s inability to timely file its annual report for 2020 on
   24
        Form 10-K (“2020 NT 10-K”). The 2020 NT 10-K stated, in relevant part, the
   25
        following regarding the delay in the annual report:
   26
                     The Company does not anticipate filing the 2020 Form
   27
                     10-K on or before March 31, 2021, the extended period
   28
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   29
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    1                provided for the filing under Rule 12b-25(b) of the
                     Securities Exchange Act of 1934, as amended, and the
    2                Company is unable to predict a specific filing date for
    3                the 2020 Form 10-K at this time. However, as
                     previously disclosed, the Company intends to work
    4                diligently to file the Restated Financial Statements, the
    5                Q2 Form 10-Q, the Q3 Form 10-Q, the 2020 Form 10-K
                     and any subsequent delayed periodic SEC filings by no
    6                later than August 17, 2021, which is the last day of the
    7                additional cure period the New York Stock Exchange
                     (the “NYSE”) has provided (subject to reassessment by
    8
                     the NYSE on an ongoing basis) for the Company to
    9                return to compliance with the timely filing criteria set
   10                forth in Section 802.01E of the NYSE Listed Company
                     Manual.
   11
   12         161. On May 10, 2021, GTT filed with the SEC a Form NT 10-Q
   13   notification of the Company’s inability to timely file its quarterly report for the
   14   first quarter of 2021 (“1Q21 NT 10-Q”). The 1Q21 NT 10-Q stated, in relevant
   15   part, the following regarding the delay in the quarterly report:
   16
                     The Company does not anticipate filing the Q1 2021
   17                Form 10-Q on or before May 17, 2021, the extended
   18                period provided for the filing under Rule 12b-25(b) of
                     the Securities Exchange Act of 1934, as amended, and
   19                the Company is unable to predict a specific filing date
   20                for the Q1 2021 Form 10-Q at this time. However, the
                     Company intends to work diligently to file the Restated
   21                Financial Statements, the Q2 Form 10-Q, the Q3 Form
   22                10-Q, the 2020 Form 10-K, the Q1 2021 Form 10-Q and
                     any subsequent delayed periodic SEC filings as soon as
   23
                     possible.
   24
   25         162. On July 2, 2021, GTT filed a current report with the SEC on Form 8-
   26   K, which disclosed that the NYSE would be delisting GTT’s common stock due to
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    1   the Company’s continued failure to file its quarterly or annual reports. The July 2,
    2   2021 8-K stated, in part:
    3
                     On July 2, 2021, the Company informed the NYSE staff
    4                that it does not expect to complete and file the Restated
    5                Financial Statements and the Delayed Filings before the
                     end of the Additional Cure Period. The NYSE staff
    6                indicated that the exchange will immediately suspend
    7                trading of the Common Stock on the NYSE and
                     commence proceedings to delist the Common Stock
    8                from the NYSE. The Company does not intend to appeal
    9                the NYSE’s delisting determination. The Company
                     expects that the NYSE will subsequently file a Form 25
   10                with the SEC, which will remove the Common Stock
   11                from listing on the NYSE and from registration under
                     Section 12(b) of the Exchange Act. Since the
   12
                     Company’s Common Stock was registered under
   13                Section 12(g) of the Exchange Act prior to its listing on
   14                NYSE MKT LLC in 2013, the registration under Section
                     12(g) of the Exchange Act will again become operative
   15                upon the effectiveness of the deregistration under
   16                Section 12(b) of the Exchange Act.
   17
   18                At this time, the Company does not know whether the
                     Common Stock will be quoted on the Pink Open Market
   19                operated by OTC Markets Group Inc. or on any other
   20                market or quotation system following suspension of
                     trading on the NYSE. Any quotation of the Common
   21                Stock on the Pink Open Market would require a market
   22                maker to sponsor the security and comply with Rule
                     15c2-11 under the Securities Exchange Act of 1934
   23
                     before it can initiate such quotation. To the extent the
   24                Common Stock is quoted on the Pink Open Market or
   25                another market, the Company expects such market may
                     provide significantly less liquidity than the NYSE, and
   26                trading prices of the Common Stock may decline.
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    1         163. On July 21, 2021, the NYSE filed a Form 25-NSE, formally
    2   confirming the NYSE’s delisting of GTT.
    3         164. As of July 30, 2021, GTT still had not filed any of its delayed
    4   quarterly or annual reports, and had not issued restatements of the financial
    5   reports affected by the accounting problems identified the prior year.
    6         165. As a result of Defendants’ wrongful acts and omissions, and the
    7   precipitous decline in the market value of the Company’s securities, Plaintiff and
    8   other Class members have suffered significant losses and damages.
    9                 PLAINTIFF’S CLASS ACTION ALLEGATIONS
   10         166. Plaintiff brings this action as a class action pursuant to Federal Rule
   11   of Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons
   12   other than defendants who acquired GTT securities publicly traded on the NYSE
   13   during the Class Period, and who were damaged thereby (“Class”). Excluded
   14   from the Class are Defendants, the officers and directors of GTT and its
   15   subsidiaries, members of the Individual Defendants’ immediate families and their
   16   legal representatives, heirs, successors or assigns and any entity in which
   17   Defendants have or had a controlling interest.
   18         167. The members of the Class are so numerous that joinder of all
   19   members is impracticable. Throughout the Class Period, GTT securities were
   20   actively traded on the NYSE. While the exact number of Class members is
   21   unknown to Plaintiff at this time and can be ascertained only through appropriate
   22   discovery, Plaintiff believes that there are hundreds, if not thousands of members
   23   in the proposed Class.
   24         168. Plaintiff’s claims are typical of the claims of the members of the
   25   Class as all members of the Class are similarly affected by defendants’ wrongful
   26   conduct in violation of federal law that is complained of herein.
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    1         169. Plaintiff will fairly and adequately protect the interests of the
    2   members of the Class and has retained counsel competent and experienced in
    3   class and securities litigation. Plaintiff has no interests antagonistic to or in
    4   conflict with those of the Class.
    5         170. Common questions of law and fact exist as to all members of the
    6   Class and predominate over any questions solely affecting individual members of
    7   the Class. Among the questions of law and fact common to the Class are:
    8         •      whether the Exchange Act was violated by Defendants’ acts as
    9                alleged herein;
   10         •      whether statements made by Defendants to the investing public
   11                during the Class Period misrepresented material facts about the
   12                financial condition and business of GTT;
   13         •      whether Defendants’ public statements to the investing public during
   14                the Class Period omitted material facts necessary to make the
   15                statements made, in light of the circumstances under which they
   16                were made, not misleading;
   17         •      whether the Defendants caused GTT to issue false and misleading
   18                filings during the Class Period;
   19         •      whether Defendants acted knowingly or recklessly in issuing false
   20                filings;
   21         •      whether the prices of GTT securities during the Class Period were
   22                artificially inflated because of the Defendants’ conduct complained
   23                of herein; and
   24         •      whether the members of the Class have sustained damages and, if so,
   25                what is the proper measure of damages.
   26         171. A class action is superior to all other available methods for the fair
   27   and efficient adjudication of this controversy since joinder of all members is
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    1   impracticable. Furthermore, as the damages suffered by individual Class
    2   members may be relatively small, the expense and burden of individual litigation
    3   make it impossible for members of the Class to individually redress the wrongs
    4   done to them. There will be no difficulty in the management of this action as a
    5   class action.
    6         172. Plaintiff will rely, in part, upon the presumption of reliance
    7   established by the fraud-on-the-market doctrine in that, among other things: (a)
    8   during the Class Period, Defendants made public statements of material fact that
    9   were false, misleading, or were rendered misleading because of Defendants’
   10   failure to disclose material facts necessary to prevent such statement from being
   11   misleading; (b) as a result of the false and misleading statements and omissions
   12   of material fact, GTT securities traded at artificially inflated prices during the
   13   Class Period; (c) Plaintiff and other members of the Class purchased or otherwise
   14   acquired GTT securities relying on the integrity of the market price of those
   15   securities and market information relating to the Company, and have been
   16   damaged thereby.
   17         173. During the Class Period, the artificial inflation of GTT securities was
   18   caused by Defendants’ material misrepresentations and omissions as described
   19   above, causing the damages sustained by Plaintiff and the other members of the
   20   Class. Defendants’ material misrepresentations and omissions created an
   21   unrealistically positive assessment of GTT and its business, operations, and
   22   prospects, causing the price of the Company’s securities to be artificially inflated
   23   at all relevant times, including when Plaintiff and other members of the Class
   24   purchased the stock. When the truth hidden by these misrepresentations and
   25   omissions was disclosed, that disclosure negatively affected the value of the
   26   Company’s securities, dissipating the artificial inflation and damaging Plaintiff
   27   and other members of the Class.
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    1         174. The market for GTT securities, and in particular GTT common
    2   stock, was an efficient market at all times during the Class Period for the
    3   following reasons, among others::
    4         •     GTT shares met the requirements for listing, and were listed and
    5               actively traded on the NYSE, a highly efficient and automated
    6               market;
    7         •     On average, over 4 million shares, representing well over 2.0% of
    8               the Company’s total shares outstanding, were traded weekly during
    9               the Class Period;
   10         •     As a regulated issuer, GTT filed periodic public reports with the
   11               SEC;
   12         •     GTT regularly communicated with public investors via established
   13               market communication mechanisms, including through the regular
   14               dissemination of press releases via major newswire services and
   15               through     other   wide-ranging   public   disclosures,   such   as
   16               communications with the financial press and other similar reporting
   17               services;
   18         •     GTT was followed by at least 20 securities analysts employed by
   19               major brokerage firms who wrote reports that were widely
   20               distributed and publicly available, and entered the public
   21               marketplace;
   22         •     The price of GTT securities responded quickly to incorporate and
   23               reflect new public information concerning the Company during the
   24               Class Period.
   25         175. Based on the foregoing, the market for GTT securities promptly
   26   digested current information regarding GTT from all publicly available sources
   27   and reflected such information in the prices of the securities. Under these
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    1   circumstances, all purchasers of GTT securities during the Class Period suffered
    2   similar injury through their purchase of GTT securities at artificially inflated
    3   prices, and thus are entitled to a presumption of reliance.
    4         176. Alternatively, Plaintiff and the members of the Class are entitled to
    5   the presumption of reliance established by the Supreme Court in Affiliated Ute
    6   Citizens of the State of Utah v. United States, 406 U.S. 128 (1972), because the
    7   Class’s claims are in large part grounded on Defendants’ omissions of material
    8   facts in their Class Period statements in violation of Defendants’ duty to disclose
    9   such facts. Thus, positive proof of reliance is not a prerequisite to recovery. All
   10   that is necessary is that the facts withheld were material in that a reasonable
   11   investor might have considered them important in making investment decisions.
   12   Here, the misleadingly omitted facts were material, so the presumption applies.
   13                                       COUNT I

   14     For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants
   15
   16         177. Plaintiff repeats and realleges each and every allegation contained
   17   above as if fully set forth herein.
   18         178. This Count is asserted against Defendants is based upon Section
   19   10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
   20   thereunder by the SEC.
   21         179.    During the Class Period, Defendants, individually and in concert,
   22   directly or indirectly, disseminated or approved the false statements specified
   23   above, which they knew or deliberately disregarded were misleading in that they
   24   contained misrepresentations and failed to disclose material facts necessary in
   25   order to make the statements made, in light of the circumstances under which
   26   they were made, not misleading.
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    1           180. Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that
    2   they:
    3                •     employed devices, schemes and artifices to defraud;
    4                •     made untrue statements of material facts or omitted to state
    5                      material facts necessary in order to make the statements made,
    6                      in light of the circumstances under which they were made, not
    7                      misleading; or
    8                •     engaged in acts, practices and a course of business that
    9                      operated as a fraud or deceit upon plaintiff and others similarly
   10                      situated in connection with their purchases of GTT securities
   11                      during the Class Period.
   12           181. Defendants acted with scienter in that they knew that the public
   13   documents and statements issued or disseminated in the name of GTT were
   14   materially false and misleading; knew that such statements or documents would
   15   be issued or disseminated to the investing public; and knowingly and
   16   substantially participated, or acquiesced in the issuance or dissemination of such
   17   statements or documents as primary violations of the securities laws. These
   18   Defendants by virtue of their receipt of information reflecting the true facts of
   19   GTT, their control over, and/or receipt and/or modification of GTT’s allegedly
   20   materially misleading statements, and/or their associations with the Company
   21   which made them privy to confidential proprietary information concerning GTT,
   22   participated in the fraudulent scheme alleged herein.
   23           182. The Individual Defendants, who are the senior officers and/or
   24   directors of the Company, had actual knowledge of the material omissions and/or
   25   the falsity of the material statements set forth above, and intended to deceive
   26   Plaintiff and the other members of the Class, or, in the alternative, acted with
   27   reckless disregard for the truth when they failed to ascertain and disclose the true
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    1   facts in the statements made by them or other GTT personnel to members of the
    2   investing public, including Plaintiff and the Class.
    3           183. As a result of the foregoing, the market price of GTT securities was
    4   artificially inflated during the Class Period. In ignorance of the falsity of
    5   Defendants’ statements, Plaintiff and the other members of the Class relied on the
    6   statements described above and/or the integrity of the market price of GTT
    7   securities during the Class Period in purchasing GTT securities at prices that were
    8   artificially inflated as a result of Defendants’ false and misleading statements.
    9           184. Had Plaintiff and the other members of the Class been aware that the
   10   market price of GTT securities had been artificially and falsely inflated by
   11   Defendants’ misleading statements and by the material adverse information
   12   which Defendants did not disclose, they would not have purchased GTT
   13   securities at the artificially inflated prices that they did, or at all.
   14           185.   As a result of the wrongful conduct alleged herein, Plaintiff and
   15   other members of the Class have suffered damages in an amount to be established
   16   at trial.
   17           186. By reason of the foregoing, Defendants have violated Section 10(b)
   18   of the Exchange Act and Rule 10b-5 promulgated thereunder and are liable to
   19   Plaintiff and the other members of the Class for substantial damages which they
   20   suffered in connection with their purchase of GTT securities during the Class
   21   Period.
   22           187. This action was filed within five years of each Class member’s
   23   purchase of GTT common stock and within two years of the discovery of the
   24   Defendants’ fraudulent statements. It is therefore timely.
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    1                                        COUNT II

    2                    Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants
    3
    4         188. Plaintiff repeats and realleges each and every allegation contained in
    5   the foregoing paragraphs as if fully set forth herein.
    6         189. During the Class Period, the Individual Defendants participated in
    7   the operation and management of GTT, and conducted and participated, directly
    8   and indirectly, in the conduct of GTT’s business affairs. Because of their senior
    9   positions, they knew the adverse non-public information about GTT’s
   10   misstatement of revenue and profit and false financial statements.
   11         190. As officers and/or directors of a publicly owned company, the
   12   Individual Defendants had a duty to disseminate accurate and truthful information
   13   with respect to GTT’s financial condition and results of operations, and to correct
   14   promptly any public statements issued by GTT which had become materially
   15   false or misleading.
   16         191.    Because of their positions of control and authority as senior officers,
   17   the Individual Defendants were able to, and did, control the contents of the
   18   various reports, press releases and public filings which GTT disseminated in the
   19   marketplace during the Class Period concerning GTT’s results of operations.
   20   Throughout the Class Period, the Individual Defendants exercised their power
   21   and authority to cause GTT to engage in the wrongful acts complained of herein.
   22   The Individual Defendants therefore, were “controlling persons” of GTT within
   23   the meaning of Section 20(a) of the Exchange Act. In this capacity, they
   24   participated in the unlawful conduct alleged which artificially inflated the market
   25   price of GTT securities.
   26         192. The Individual Defendants, therefore, each acted as a controlling
   27   person of the Company. By reason of their senior management positions and/or
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    1   being directors of the Company, the Individual Defendants had the power to
    2   direct the actions of, and exercised the same to cause, the Company to engage in
    3   the unlawful acts and conduct complained of herein. The Individual Defendants
    4   exercised control over the general operations of the Company and possessed the
    5   power to control the specific activities which comprise the primary violations
    6   about which Plaintiff and the other members of the Class complain.
    7          193. By reason of the above conduct, the Individual Defendants are liable
    8   pursuant to Section 20(a) of the Exchange Act for the violations committed by
    9   GTT.
   10          194. This action was filed within five years of each Class member’s
   11   purchase of GTT common stock and within two years of the discovery of the
   12   Defendants’ fraudulent statements. It is therefore timely.
   13                                PRAYER FOR RELIEF
   14          WHEREFORE, Plaintiff, on behalf of itself and the Class, prays for
   15   judgment and relief as follows:
   16          A.    Determining that this action may be maintained as a class action
   17   under Rule 23 of the Federal Rules of Civil Procedure;
   18          B.    Awarding damages in favor of Plaintiff and the other Class members
   19   against all Defendants, jointly and severally, for all damages sustained as a result
   20   of Defendants’ wrongdoing, in an amount to be proven at trial, including interest
   21   thereon;
   22          C.    Awarding Plaintiff and the Class their reasonable costs and expenses
   23   incurred in this action, including counsel fees and expert fees; and
   24          D.    Such other and further relief as the Court may deem just and proper.
   25                              JURY TRIAL DEMANDED
   26          Plaintiff hereby demands a trial by jury.
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    1   Dated: August 17, 2021            THE ROSEN LAW FIRM, P.A.
    2
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   15                                     Class
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    1                            CERTIFICATE OF SERVICE
    2         I, Laurence M. Rosen, hereby declare under penalty of perjury as follows:
    3         I am the managing attorney of The Rosen Law Firm, P.A., with offices at
    4   355 South Grand Avenue, Suite 2450, Los Angeles, CA 90071. I am over the age
    5   of eighteen.
    6         On August 17, 2021, I electronically filed the foregoing CONSOLIDATED
    7   AMENDED CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE
    8   FEDERAL SECURITIES LAWS with the Clerk of the Court using the CM/ECF
    9   system which sent notification of such filing to counsel of record.
   10   Executed on August 17, 2021.
   11
                                               /s/ Laurence M. Rosen
   12                                          Laurence M. Rosen
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